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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,
                                                  Crim. No. 19-120 (KM)
            v.

 GORDON J. COBURN and                              Hon. Kevin McNulty
 STEVEN SCHWARTZ,

                        Defendants.




           BRIEF OF DEFENDANT STEVEN SCHWARTZ IN SUPPORT OF
                       OMNIBUS MOTIONS IN LIMINE
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                                PRELIMINARY STATEMENT

                On February 14, 2019, Gordon Coburn and Steven Schwartz were charged with

 one count of conspiracy to violate the Foreign Corrupt Practices Act (the “FCPA”) in violation of

 15 U.S.C. §§ 78dd-1, 78ff(c)(2)(A), 78m(b)(5), 78ff(a), 78m(b)(2)(B), 78m(b)(5), and 78ff(a), and

 18 U.S.C. § 371; three counts of violations of the FCPA in violation of 15 U.S.C. §§ 78dd-1 and

 78ff(c)(2)(A), and 18 U.S.C. § 2; seven counts of falsifying books and records in violation of 15

 U.S.C. §§ 78m(b)(2)(A), 78m(b)(5), and 78ff(a), and 18 U.S.C. § 2; and one count of

 circumvention of required internal accounting controls in violation of 15 U.S.C. §§ 78m(b)(2)(B),

 78m(b)(5), and 78ff(a), and 18 U.S.C. § 2.1 See ECF No. 1. Trial is set for October 2, 2023. ECF

 No. 442 at 2. On April 13, 2023, the Court entered a Trial Scheduling Order agreed to by the

 parties. See ECF No. 465. That Order required that the parties file motions in limine on or before

 August 3, 2023. Id. at 5.

                This brief is respectfully submitted in support of defendant Steven Schwartz’s

 motions in limine. For the reasons set forth below, these motions should be granted, both in order

 to ensure that only admissible evidence is presented to the jury in this complex case and so that

 the trial of this matter, despite those complexities, moves forward in an efficient fashion. In

 particular, Mr. Schwartz requests that the Court enter an order: (1) excluding evidence regarding

 Mr. Schwartz’s attendance at a Mets game on April 22, 2014; video of Mr. Schwartz at the April

 22, 2014 Mets game; and information regarding Mr. Schwartz’s eye surgery on April 24, 2014;

 (2) excluding evidence of answers given by Mr. Schwartz to questions posed by counsel for

 Cognizant Technology Solutions Corporation (“Cognizant” or the “Company”) during interviews




 1   Counts 1–4 and Count 12 charge both Mr. Coburn and Mr. Schwartz. Counts 5, 6, 8, 10, and
     11 charge Mr. Coburn alone, and Counts 7 and 9 charge Mr. Schwartz alone.


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 held on August 28, 2016 and September 23, 2016 to the extent the questions posed (or answers

 given) referred to hypothetical scenarios or called for legal conclusions; (3) allowing to be admitted

 into evidence statements made by Larsen & Toubro Ltd. (“L&T”) concerning its investigation into

 the alleged bribery scheme charged in this case, including formal public statements made to the

 Indian stock exchange to the effect that its investigation did not find evidence of a bribe payment;

 and (4) allowing to be admitted into evidence the Government’s admission that neither the

 defendants, their co-conspirators, nor the Government itself knows key details of the alleged bribe

 conspiracy in this case.

                In addition, Mr. Schwartz respectfully joins Mr. Coburn’s omnibus motions in

 limine, insofar as they seek an order: (a) excluding certain statements of the defendants and certain

 portions of Cognizant’s internal policies concerning the definition of particular legal terms

 (Coburn motion in limine (“MIL”) #1); (b) excluding references to, or evidence about, Cognizant’s

 outsourcing jobs or using less expensive foreign labor (Coburn MIL #2); (c) excluding references

 to, or evidence about, Mr. Coburn’s decisions or views relating to Cognizant’s compliance budget

 (Coburn MIL #3); (d) excluding references to, or evidence about, Mr. Coburn’s compensation

 while employed at Cognizant and his overall net worth (Coburn MIL #4), including with respect

 to Mr. Schwartz’s compensation while employed at Cognizant and his net worth; (e) excluding

 references to, or evidence about, Mr. Coburn’s refusal to sit for a second interview as part of

 Cognizant’s internal investigation and the circumstances of his subsequent resignation (Coburn

 MIL #5), including with respect to Mr. Schwartz’s termination of his second interview and refusal

 to sit for a third interview, and the circumstances of his subsequent resignation; and (f) admitting

 exculpatory statements reflected in FBI-302 reports of L&T witnesses whom the Government has

 had the opportunity to question but are unavailable to testify (Coburn MIL #9).




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                Under Federal Rule of Evidence 104(a), “[t]he court must decide any preliminary

 questions about whether a witness is qualified, a privilege exists, or evidence is admissible.” Fed.

 R. Evid. 104(a). A motion in limine provides an avenue for such an inquiry and “is designed to

 narrow the evidentiary issues for trial and to eliminate unnecessary trial interruptions.” Bowers v.

 Nat’l Collegiate Athletic Ass’n, 563 F. Supp. 2d 508, 531 (D.N.J. 2008) (quoting Bradley v.

 Pittsburg Bd. of Educ., 913 F.2d 1064, 1069 (3d Cir. 1990)); see also United States v. Romano,

 849 F.2d 812, 815 (3d Cir. 1988) (“A trial judge has a duty to limit the jury’s exposure to only that

 which is probative and relevant and must attempt to screen from the jury any proffer that it deems

 irrelevant.”); United States v. Henderson, 2021 WL 2680004, at *1 (D.N.J. June 29, 2021).

 Specifically, in limine motions provide the Court with the opportunity, among other things, “to

 exclude anticipated prejudicial evidence before the evidence is actually offered.” Luce v. United

 States, 469 U.S. 38, 40 n.2 (1984).




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                                             DISCUSSION

 I.      THE GOVERNMENT SHOULD BE PRECLUDED UNDER FEDERAL RULES OF
         EVIDENCE 401, 402, AND 403 FROM INTRODUCING EVIDENCE RELATED
         TO MR. SCHWARTZ’S EYE SURGERY AND ATTENDANCE AT THE APRIL
         22, 2014 NEW YORK METS GAME

                 On June 30, 2023, the Government provided the defense with its preliminary

 exhibit list, which includes, among other things, numerous medical records related to an eye

 surgery that Mr. Schwartz had in April 2014, as well as evidence of Mr. Schwartz’s attendance at

 an April 22, 2014 New York Mets baseball game—including both a six-hour video of the entire

 game and post-game coverage, which shows Mr. Schwartz and his family sitting in the second row

 behind home plate, and StubHub records reflecting that Mr. Schwartz purchased tickets costing

 approximately $1,500 for the game several weeks beforehand for himself and his family. As

 discussed below, this evidence, which Cognizant’s outside counsel DLA Piper (“DLA”) obtained

 in an apparent attempt to disprove statements Mr. Schwartz purportedly made during his

 September 23, 2016 interview2 as part of Cognizant’s internal investigation, not only has little if

 any relevance to the charges in this case and Mr. Schwartz’s defenses to them, but presents



 2    Interview memoranda drafted by DLA after the August 28, 2016 and September 23, 2016
      interviews of Mr. Schwartz presumably provide a preview of the testimony the Court can
      expect to hear at trial, as more than seven years will have passed between the interviews and
      the trial. Any trial witnesses from DLA are unlikely to have a clear recollection of interviews
      in August and September 2016 and will thus necessarily testify with reference to the
      memoranda.         As the Court recognized in its July 20, 2023 opinion on the
      Garrity/Connolly/Brady motion practice, DLA insisted that Mr. Schwartz agree to terms for
      the interview that essentially ensured that DLA would control the record of their questions and
      Mr. Schwartz’s answers, so that the only contemporaneous record of Mr. Schwartz’s
      statements during the DLA interviews would be DLA’s attorney notes and memoranda. See
      ECF No. 495 at 4, 5 (“The DLA attorneys who interviewed Schwartz, including Buch, set and
      enforced strict ground rules for the interview, including prohibiting Schwartz from having
      more than one lawyer present and not allowing that lawyer to take notes or ask questions.”).
      While Mr. Schwartz understands that these memoranda likely reflect the testimony that will
      be given at trial, he contests the quotations attributed to him, and nothing in this motion should
      be read to imply otherwise.

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 significant risks of unfair prejudice, confusion of the issues, and unnecessary delay—including by

 occasioning precisely the type of mini-trial that Federal Rule of Evidence 403 is designed to avoid.

 As a result, the Government should be precluded from introducing this evidence at trial.

                                  RELEVANT BACKGROUND

                As the Court is aware, in April 2016, Cognizant retained DLA to conduct an

 internal investigation into allegations of potential bribes paid to unnamed and unidentified

 government officials in India. As part of this investigation, DLA interviewed Mr. Schwartz,

 Cognizant’s then-Chief Legal and Corporate Affairs Officer, on August 28, 2016 and again on

 September 23, 2016. During his September 23, 2016 interview, DLA questioned Mr. Schwartz

 about notes allegedly found on his laptop computer in the days before that interview which

 purportedly summarize conference calls that occurred on April 22, 2014 (together with another

 call on April 21, the “April 2014 calls”). The Government alleges that during these April 2014

 calls, Mr. Coburn and Mr. Schwartz authorized the alleged bribe payment that forms the basis for

 the Indictment and agreed to conceal that payment in Cognizant’s books and records.

                Without any recollection of the April 2014 calls, including when they occurred and

 who was present for them or, any recollection whatsoever of the notes that purport to describe

 them, and without any notice from Cognizant or DLA that he would be questioned about them

 during his interview, Mr. Schwartz did his best to remember on September 23, 2016, what was

 discussed on calls that had occurred over two years before, but he had no real recollection of the

 calls and told his interviewers as much. When pressed about his lack of recollection, Mr. Schwartz

 did share facts regarding a significant event that occurred during that time period—that is, he told

 his questioners that he learned at around the time of the April 2014 calls that he was at risk of

 losing his left eye due to a cancerous condition and spent that week preparing for eye surgery,




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 which he underwent on April 24, 2014. Ex. 1, September 23, 2016 Steven Schwartz Interview

 Memorandum, CTS_R17_0004363 at 4374 (“Schwartz said his ‘entire week’ of April 21 was

 ‘dealing with eye surgery’ that took place on April 24. He said that the week leading up to surgery

 was not good.”); id. at 4378 (“at the beginning of the week in which [the] April 21–22 calls

 occurred, [Schwartz] learned that he might lose his eye”)).3

                The Government has made clear that it intends to introduce evidence at the

 upcoming trial relating both to Mr. Schwartz’s eye surgery on April 24, 2014 and his attendance

 at an April 22, 2014 Mets game against the St. Louis Cardinals earlier that week. Specifically, the

 Government has pre-marked as trial exhibits the following documents related to Mr. Schwartz’s

 medical condition and resulting eye surgery:


     GX                         Description                          Ex. & Record Reference

     87.      March 31, 2014 Dermatopathology Report            Ex. 2, ROBINSON-00000042

              March 31, 2014 Diagnostic Report from
     88.                                                        Ex. 3, DOLPHIN-00000011-12
              Dermpath Diagnostics

              April 4, 2014 Letter from Dr. David S. Becker
     89.                                                        Ex. 4, ROBINSON-00000040
              to Dr. Bruce Robinson


     108.     April 21, 2014 Notes of Dr. Kip Dolphin           Ex. 5, DOLPHIN-00000003


              April 24, 2014 Letter from Dr. David S.
     118.                                                       Ex. 6, ROBINSON-00000039
              Becker to Dr. Bruce Robinson

              April 24, 2014 Email from Steven Schwartz to
     119.     Francisco D’Souza, “Re: Fmr. Gov. Bill            Ex. 7, CTS-0011056-58
              Richardson (D-NM)”4


 3   All citations of the form “Ex.” are citations to exhibits to the Sieber Declaration.
 4   Although not apparent from the title of the document, this email, Ex. 7, GX 119, along with
     the email of the same subject line the following day, Ex. 9, GX 121, are exchanges between
     Mr. Schwartz and his boss, Cognizant CEO Francisco D’Souza, regarding the surgery.

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    120.      April 24, 2014 Notes of Dr. Kip Dolphin           Ex. 8, DOLPHIN-00000004


              April 25, 2014 Email from Steven Schwartz to
    121.      Francisco D’Souza, “Re: Fmr. Gov. Bill            Ex. 9, CTS-0010946-48
              Richardson (D-NM)”

    126.      June 19, 2014 Notes of Dr. Kip Dolphin            Ex. 10, DOLPHIN-00000009


              July 9, 2014 Letter from Murray A. Meltzer to
    130.                                                        Ex. 11, ROBINSON-00000037-38
              Dr. Bruce Robinson


    154.      November 13, 2014 Notes of Dr. Kip Dolphin        Ex. 12, DOLPHIN-00000010


              October 13, 2016 Letter from Dr. Bruce
    225.                                                        Ex. 13, ROBINSON-00000035
              Robinson


    227.      Medical Records of Dr. David Becker               Ex. 14, BECKER-00000001-12


 The Government has also identified on its preliminary exhibit list the following video footage and

 related documentation reflecting Mr. Schwartz’s attendance at a New York Mets baseball game

 on April 22, 2014:


    GX                          Description                         Ex. & Record Reference

              April 22, 2014 Video of New York Mets v. St.
    113.                                                        Ex. 15, DOJ-NBC-00000001
              Louis Cardinals Baseball Game


              April 23, 2014 Email from Steven Schwartz to
    116.                                                        Ex. 16, CTS-0010832
              Steven Papera, “Re: Mets - Cards”


    228.      StubHub Records                                   Ex. 17, STUBHUB-0000000006


                The Government has previewed its purpose in seeking to introduce these exhibits:

 to rebut what it, and DLA, denominated Mr. Schwartz’s purported “amnesia defense” by calling


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 into question the seriousness of his eye surgery, and to demonstrate his consciousness of guilt by

 somehow casting his lack of recollection regarding the April 2014 calls as a false exculpatory

 statement. See Exs. 18–20, DOJ-EH-0000000145 at 151–52, DOJ-EH-0000000203 at 209, June

 15, 2022 Letter from G. Moody et al. to T. Wells et al. at 1–2. In fact, however, Mr. Schwartz did

 not, never has, and never will assert an “amnesia defense”—a term that DLA coined and the

 Government adopted while the two worked together to investigate Mr. Schwartz.5 Nor does

 evidence related to Mr. Schwartz’s eye surgery and attendance at a Mets game with his family in

 April 2014 satisfy the relevance standard of Rules 401 and 402 or come close to passing a Rule

 403 balancing test, as it has little, if any, probative value, on the one hand, and poses a significant

 risk of unfair prejudice, confusion of the issues, and unnecessary delay, on the other. Mr. Schwartz

 respectfully submits that this evidence should be precluded, including to avoid the collateral mini-

 trials that would otherwise necessarily result.




 5   Following Mr. Schwartz’s September 23, 2016 interview, the Government and Cognizant
     worked together to investigate what they described as Mr. Schwartz’s “amnesia defense,”
     including collecting the evidence that is the subject of this motion—namely Mr. Schwartz’s
     medical records, doctor notes and interviews, video footage from the Mets game, and
     verification of his ticket purchase for that game. Ex. 21, ECF No. 473, Apr. 18, 2023 Hr’g Tr.
     at 76:12–17, 223:6–23; Ex. 22, ECF No. 476, Apr. 19, 2023 Hr’g Tr. at 322:24–323:3; Ex. 19,
     DOJ-EH-0000000203 at 209. During an October 6, 2016 meeting, DLA informed the
     Government that it had requested that Mr. Schwartz make available his medical records related
     to his eye surgery, and, in response, the Government asked DLA if “we [DLA and the
     Government] exhausted everything around him not remembering the events he was asked
     about during his initial interview.” Ex. 20, Letter from G. Moody et al. to T. Wells et al. (June
     15, 2022) at 1–2); Ex. 21, ECF No. 473, Apr. 18, 2023 Hr’g Tr. at 76:12–77:4. The
     Government also shared with DLA during a March 19, 2018 call that “the consciousness of
     guilt aspect here” is “crucial for us [the Government]” and will likely be “an area of the trial
     that is heavily litigated.” Ex. 18, DOJ-EH-0000000145 at 151–52.

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                                            ARGUMENT

        A.      Evidence Related to Mr. Schwartz’s Attendance at the April 22, 2014 Mets
                Game Should be Excluded

                1.        Evidence of Mr. Schwartz’s Attendance at the Mets Game Is Irrelevant
                          Under Rule 401 and, Therefore, Inadmissible Under Rule 402

                Evidence of Mr. Schwartz’s attendance at the New York Mets game on April 22,

 2014 should be excluded because, to put it simply, it is entirely irrelevant. It is well established

 that “[e]vidence is relevant” and thus, admissible, if it has “any tendency to make a fact more or

 less probable than it would be without the evidence” and “the fact is of consequence in determining

 the action.” Fed. R. Evid. 401(a)–(b); see, e.g., United States v. Desu, 23 F.4th 224, 233 (3d Cir.

 2022); United States v. Escalante-Melgar, 567 F. Supp. 3d 485, 491 (D.N.J. 2021). In a criminal

 case, evidence is relevant where it makes it “more or less likely” that the defendant committed the

 offenses charged. United States v. Johnson, 143 F. App’x 436, 438 (3d Cir. 2005) (“Relevant

 evidence is any evidence that tends to make the existence of a material fact more or less likely”);

 United States v. Krasley, 2022 WL 2662045, at *4 (3d Cir. July 11, 2022), cert. denied, 143 S. Ct.

 840 (2023) (evidence was relevant under Rule 401 where it “made it more likely” that defendant

 committed the crimes charged); United States v. Hazelwood, 979 F.3d 398, 409 (6th Cir. 2020)

 (“In a criminal case, a fact is ‘of consequence’ if it makes it more or less likely that the defendant

 committed the charged conduct.”). Thus, the operative inquiries under Rule 401 are whether the

 evidence “possesses sufficient probative value to justify receiving it in evidence” and “tend[s] to

 prove the matter sought to be proved[.]” Fed. R. Evid. 401 advisory committee’s note to 1972

 proposed rules.     Ultimately, pursuant to Rule 402, “evidence which is not relevant is not

 admissible.” Fed. R. Evid. 402 advisory committee’s note to 1972 proposed rules; see also United

 States v. Scarfo, 41 F.4th 136, 180 (3d Cir. 2022); Lopez v. Mulligan, 2018 WL 297582, at *2

 (D.N.J. Jan. 3, 2018).


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                There is, of course, no dispute that Mr. Schwartz in fact attended the April 22, 2014

 Mets game. But the question is “so what?” How does the fact that Mr. Schwartz attended the

 Mets game bear upon whether he authorized a bribe to Indian officials? How, even, does it bear

 upon the honesty of his statement that he did not recall the details of two brief work calls during

 that same week when asked about them 2 ½ years later? Assuming the Government’s theory is

 that Mr. Schwartz would not have attended a Mets game the same week as the surgery about which

 he was justifiably concerned, this supposition is so attenuated as to be “of [no] consequence in

 determining th[is] action.” Fed. R. Evid 401(b); see, e.g., United States v. Machado, 886 F.3d

 1070, 1085 (11th Cir. 2018) (affirming district court's exclusion of evidence “because it was too

 attenuated from the legally relevant point of [the defendant's] intent and it had a strong potential

 to confuse the jury”).

                For example, the game was between the Mets and the St. Louis Cardinals, see Exs.

 15, GX-113; Ex. 17, GX-228; a Rule 104 hearing would reveal that these tickets were purchased

 because one of Mr. Schwartz’s sons is a huge Cardinals fan; that Mr. Schwartz often purchases

 tickets for his family when the Cardinals come to town, regardless of what is happening in Mr.

 Schwartz’s life; and that the Cardinals only played four games at Citi Field that year on four

 consecutive days from April 21 through April 24, 2014, which means that Mr. Schwartz could

 only have attended a Mets vs. Cardinals game with his family during that week that ended up being

 central to this case. And even more to the point, as the Government’s proposed exhibits show, Mr.

 Schwartz purchased the Mets tickets on April 1, 2014, Ex. 17, GX-228, before his eye surgery had

 even been scheduled. See Ex. 4, GX-89.

                Does the fact that Mr. Schwartz went ahead and—ever the generous and dutiful

 father—attended this baseball game with his family show that he in fact recalled other events from




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 that week 2 ½ years earlier? Does it show that the eye surgery that was scheduled after the tickets

 were purchased, and occurred after the game, was not a serious concern to Mr. Schwartz? Does it

 otherwise show that he authorized a bribe that week? Of course, it shows none of these things.

 Indeed, it shows nothing at all. And these questions are not ones that go to the weight of this

 testimony; instead, there is absolutely nothing about this evidence that “makes it more or less

 likely” that Mr. Schwartz committed the offense alleged, or lied about his ability to recall the April

 2014 calls, rendering the evidence irrelevant under Rule 401 and inadmissible under Rule 402.

 See Johnson, 143 F. App’x at 438; Hazelwood, 979 F.3d at 409. In the performance of its

 fundamental role to exclude irrelevant evidence at trial, see United States v. Abel, 469 U.S. 45, 54

 (1984) (“A district court is accorded a wide discretion in determining the admissibility of evidence

 under the Federal Rules. Assessing the probative value of [the proffered evidence], and weighing

 any factors counseling against admissibility is a matter first for the district court's sound judgment

 under Rules 401 and 403”), the Court should preclude its admissibility at trial, and thus avoid the

 side-show that admitting it would occasion.

                2.      Evidence Related to Mr. Schwartz’s Attendance at the Mets Game Is
                        Also Inadmissible Under Rule 403 Because the Risks Associated with
                        Its Introduction Substantially Outweigh Its Probative Value, If Any

                Why, then, does the Government seek to present this evidence to the jury, including

 video footage depicting Mr. Schwartz and his family sitting in the second row behind home plate,

 Ex. 15, GX-113, email correspondence with a colleague the day after the game and a day before

 his surgery, confirming his attendance in those seats, Ex. 16, GX-116 (“Yep” in response to

 whether he was at the game and that it was a “good game for [his] boys (Cards fans)”), and

 StubHub records reflecting that Mr. Schwartz paid approximately $1,500 for his tickets, Ex. 17,

 GX-228? Beyond the way in which these facts are cumulative of each other, which itself negates

 their probative value, see United States v. Kalume, 684 F. App’x 80, 82–83 (2d Cir. 2017)


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 (affirming district court’s ruling excluding video footage, finding that “whatever probative value

 the video had” was “cumulative of evidence already before the jury.”), the reason is obvious: it is

 an effort to visit undue prejudice on Mr. Schwartz as a privileged man who can afford to sit behind

 home plate, and thus to inflame the jury against him. But that is precisely what Federal Rule of

 Evidence 403 prohibits.

                Pursuant to Rule 403, evidence must be excluded if “its probative value is

 substantially outweighed by a danger of unfair prejudice, confusing the issues, misleading the jury,

 undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. The

 Third Circuit requires “that a cost/benefit analysis must be employed to determine whether or not

 to admit evidence”—in which the probative value of the evidence at issue is weighed against the

 likely prejudice—as “relevance alone does not ensure its admissibility.” Coleman v. Home Depot,

 Inc., 306 F.3d 1333, 1343–44 (3d Cir. 2002). In other words, even assuming that the evidence at

 issue is somehow relevant under Rule 401—for the reasons set forth above, it is not—Rule 403

 requires “balancing the probative value of and need for the evidence against the harm likely to

 result from its admission.” Fed. R. Evid. 403 advisory committee’s note to the 1972 proposed

 rules; see also Gov’t of Virgin Islands v. Archibald, 987 F.2d 180, 186 (3d Cir. 1993) (“When

 weighing the Rule 403 factors, courts ‘must appraise the genuine need for the challenged evidence

 and balance that necessity against the risk of prejudice to the defendant.’”). This balancing test

 requires a fact-intensive, context-specific inquiry. Sprint/United Management Co. v. Mendelsohn,

 552 U.S. 379, 388 (2008).

                The Third Circuit has defined “unfair prejudice” for purposes of Rule 403 to mean

 “an undue tendency to suggest decision on an improper basis, commonly . . . an emotional one.”

 United States v. Schneider, 801 F.3d 186, 198 (3d Cir. 2015) (citing Fed. R. Evid. 403 advisory




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 committee’s note to 1972 proposed rules)); see also Ansell v. Green Acres Contracting Co., Inc.,

 347 F.3d 515, 525 (3d Cir. 2003) (“prejudice . . . [is] unfair prejudice . . . prejudice of the sort

 which cloud[s] impartial scrutiny and reasoned evaluation of the facts, which inhibit[s] neutral

 application of principles of law to the facts as found”). When evaluating the risk of unfair

 prejudice, the focus of the inquiry “must be on unfairness in the sense that the proponent would

 secure an advantage that results from the likelihood the evidence would persuade by illegitimate

 means.” United States v. Lenegan, 425 F. App’x 151, 156 (3d Cir. 2011) (quoting United States

 v. Blyden, 964 F.2d 1375, 1379 (3d Cir. 1992)).

                Here, the potential unfair prejudice that would result were the Government’s three

 exhibits related to the April 22, 2014 Mets game presented to the jury is abundantly clear. As this

 Court has explained, “[a]dmission of lifestyle evidence carries a danger of appealing to class

 resentments,” inflaming the jury, and thus “can deprive th[e] defendant of a fair trial.” United

 States v. Lattanzio, 2018 WL 1837856, at *14 (D.N.J. Apr. 16, 2018) (quoting United States v.

 Williams, 705 F. App’x 869, 873–74 (11th Cir. 2017)); see also Draper v. Airco, Inc., 580 F.2d

 91, 95 (3d Cir. 1978) (noting that inappropriate references to a defendant’s wealth can be

 prejudicial). Those dangers are readily apparent here, as evidence related to Mr. Schwartz’s having

 purchased the kind of pricey, coveted seats that most jurors could not afford is either meant to

 show, or certainly risks being used to depict, Mr. Schwartz as some kind of “fat cat” whom jurors

 should not like and should therefore convict. See United States v. Socony-Vacuum Oil Co., Inc.,

 310 U.S. 150, 239 (1940) (“appeals to class prejudice are highly improper and cannot be condoned

 and trial courts should ever be alert to prevent them.”); Finch v. Hercules Inc., 1995 WL 785100,

 at *10 (D. Del. Dec. 22, 1995) (excluding evidence of defendant’s financial wealth as it “would

 serve to prejudice the jury against defendant and its senior officers by portraying them as




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 ‘avaricious fat cats who can afford to pay a sizable judgment.’”). Thus, this evidence runs the very

 real risk of evoking “strong adverse” emotions that could improperly influence the jury’s

 assessment of the law and facts. See Schneider, 801 F.3d at 198 (under Rule 403, “unfair prejudice

 means ‘an undue tendency to suggest decision on an improper basis, commonly, though not

 necessarily, an emotional one’”); United States v. Sriyuth, 98 F.3d 739, 748 (3d Cir. 1996) (“[A]

 significant danger of undue prejudice will be found to exist where there are ‘substantial

 possibilities . . . that a jury will harbor strong adverse sensitivity’ to the challenged evidence.”). It

 should thus be excluded under Rule 403.

                 Furthermore, as noted, the “potential for an unnecessary mini-trial on the issue”

 also demands the exclusion of evidence under Rule 403. E.g., United States v. Williams, 464 F.3d

 443, 448 (3d Cir. 2006). And such a mini-trial would be precisely the result of admitting the Mets

 game evidence at trial: for example, insofar as the Government intends to suggest that Mr.

 Schwartz’s attendance at the Mets game is inconsistent with his statements 2 ½ years later

 regarding the impact that his eye surgery had on him the same week, the jury would be forced to

 sit through the nearly four-hours of video footage of the game itself, captured in the Government’s

 proposed exhibit, Ex. 15, GX-113, to evaluate Mr. Schwartz’s appearance throughout, including

 whether he looked happy or sad, distracted or focused, and so on, and perhaps comparing those

 images to others taken at other Mets games that Mr. Schwartz attended with his family. It would

 require an exploration of whether one who had surgery later in the week that he feared could be

 serious, could also reasonably attend and enjoy a Mets game. It would also likely require evidence

 of how important the attendance at this Mets game was to Mr. Schwartz and his family, and of

 how he raised his children. All of that, of course, would be an immense waste of time and a true

 side-show, unrelated to the events at issue here. For these reasons as well, this evidence should be




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 excluded under Rule 403. See, e.g., Coleman, 306 F.3d at 1346–37 (upholding the exclusion of

 evidence under Rule 403 where undue delay and waste of time outweighed the evidence’s low

 probative value because the evidence “would certainly have involved a great deal of testimony–a

 trial within a trial in fact.”).

         B.       Evidence Related to Mr. Schwartz’s Eye Surgery Should Be Excluded

                  1.       Evidence of Mr. Schwartz’s Eye Surgery Is Irrelevant Under Rule 401
                           and, Therefore, Inadmissible Under Rule 402

                  The thirteen (13) medical records and correspondence related to Mr. Schwartz’s

 eye surgery in April 2014 that the Government has pre-marked as trial exhibits, like those

 reflecting his attendance at the Mets game that same week, have no conceivable relevance under

 Rule 401 and, thus, cannot be admitted under Rule 402. Nothing about Mr. Schwartz’s eye surgery

 on April 24, 2014, or his doctor’s visits in the weeks and months that preceded and followed that

 surgery, sheds any direct light on the central issues at the upcoming trial: whether Mr. Schwartz

 authorized a bribe payment to an Indian government official in April 2014, or signed false

 certifications months and years later.

                  The Government has previewed that it intends to introduce this evidence, though,

 as purportedly indicative of Mr. Schwartz’s consciousness of guilt, presumably by calling into

 question Mr. Schwartz’s views relating to the seriousness of his eye surgery and thus the veracity

 of his alleged statements—made during his September 23, 2016 interview—that he did not

 remember certain aspects of the April 2014 calls or any part of the notes that purport to describe

 them in part because he was focused on other things (i.e., the surgery) that week. See Exs. 18–20,

 DOJ-EH-0000000145 at 151–52, DOJ-EH-0000000203 at 209, Letter from G. Moody et al. to T.

 Wells et al. (June 15, 2022) at 1–2. But in fact, there is no basis for treating Mr. Schwartz’s




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 statements about his eye surgery as false exculpatory statements that would pass the relevancy test

 of Rules 401 and 402.

                As the Court knows, and the Government’s own exhibits reveal, the April 21 and

 22, 2014 calls—which Mr. Schwartz joined for a total of 33 minutes over two days—took place

 over 2 ½ years before the interview in which Mr. Schwartz was questioned about their content.

 See Ex. 45–46, GX-105, GX-111. In other words, given the significant passage of time between

 the events of April 2014 and DLA’s questioning about them over two years later, it is far from

 surprising, and, indeed, is consistent with the caselaw’s understanding of human memory, that Mr.

 Schwartz would not recall the April 2014 calls or the notes that purport to describe them—as he

 consistently stated when questioned during his September 23, 2016 interview. See, e.g., United

 States v. Marion, 404 U.S. 307, 331 n.3 (1971) (“Memory grows dim with the passage of time.”)

 (Douglas, J., concurring); United States v. Full Play Goup, S.A., 2023 WL 1994196, at *12

 (E.D.N.Y. Feb. 13, 2023) (witness’s inability to recall substance of events that occurred years prior

 was “consistent with the limits and idiosyncrasies of human memory”).6

                Under these circumstances, then, there is no basis for casting his failure to recall

 the details of two brief work calls, while remembering his eye surgery of that same week, as a false

 exculpatory statement that demonstrates consciousness of guilt, as opposed to an attempt by Mr.

 Schwartz to be as responsive as possible to the questions he was being asked—that is, by sharing




 6   See generally Brecht v. Abrahamson, 507 U.S. 619, 637 (1993) (noting that the “erosion of
     memory” that accompanies the passage of time makes obtaining convictions on retrial more
     difficult); United States v. Loud Hawk, 474 U.S. 302, 315 (1986) (“It is the Government that
     bears the burden of proving its case beyond a reasonable doubt. The passage of time may make
     it difficult or impossible for the Government to carry out this burden.”); United States v. Reed,
     647 F.2d 849, 853 (8th Cir. 1981) (“That the government must prove, beyond a reasonable
     doubt, as part of its perjury prosecution . . . events now more than ten years in the past, only
     makes the government’s case that much more difficult”).


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 that his overwhelming memory of the week of the April 2014 calls was the surgery he indisputably

 had. The Government has not and cannot show either of the two requirements for the admission

 of a purported false exculpatory statement: (1) that his statement—that he did not recall the phone

 calls, or that he had a “bad week” as a result of his eye surgery—was actually false; or (2) that it

 was exculpatory. See United States v. Williams, 2021 WL 955908, at *15 (A.F. Ct. Crim. App.

 Mar. 12, 2021), cert. denied sub nom. Willman v. United States, 142 S. Ct. 2811 (2022) (“A false

 exculpatory statement has—by its terms—two fundamental requirements: first, the statement must

 be false, and, second, it must tend to be exculpatory. In order for a statement to be found to be

 false, there must ordinarily be some evidence of its falsity.”); United States v. Bland, 237 F. App’x

 268, 269–70 (9th Cir. 2007) (holding that the district court erred in admitting co-conspirator’s false

 exculpatory statements where “the government failed to show that [the] ‘false exculpatory

 statements’ were, in fact, false.”); United States v. Martindale, 790 F.2d 1129, 1132 (4th Cir. 1986)

 (finding admissible a defendant’s false exculpatory statements “shown to be false and fabricated”).

 Showing that Mr. Schwartz’s statement that he did not recall aspects of the April 2014 calls was

 false would require that he in fact did recall them. But his eye surgery—like his presence at the

 Mets game—makes it no more or less likely that his statement about his recollection of the calls

 was true or false.

                Nor did, or can, Mr. Schwartz’s references during his September 23, 2016 interview

 to his eye surgery amount to a purported “amnesia defense,” which Mr. Schwartz is not claiming.

 His lack of recollection of specific conference calls, when asked years later, while he did recall a

 surgery that was a material event to him around the same time, simply does not make it “more or

 less probable” that Mr. Schwartz committed the crimes with which he is charged. See Fed. R.

 Evid. 401. As such, this evidence is not the type of false exculpatory evidence upon which a jury




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 can rely, and it should be excluded under Rules 401 and 402. See, e.g., United States v.

 McDougald, 990 F.2d 259, 263–64 (6th Cir. 1993), opinion supplemented on denial of reh’g (June

 16, 1993) (risk of allowing testimony related to defendant’s false exculpatory statements, which

 were “as hospitable to an interpretation consistent with his innocence as with the government’s

 theory of guilt” was “simply too great that an innocent man [was] convicted.”); United States v.

 Littlefield, 840 F.2d 143, 149 (1st Cir. 1988) (“For an allegedly false exculpatory statement to be

 of any value in the factfinder’s deliberations, we think it either must involve a matter collateral to

 the facts establishing guilt or should be so incredible that its very implausibility suggests that it

 was created to conceal guilt.” (citations omitted)); United States v. Perez, 387 F.3d 201, 209 (2d

 Cir. 2004) (evidence of a defendant’s consciousness of guilt “is admissible if the court . . . decides

 that the evidence is relevant and satisfies Rule 403”); United States v. Lepore, 2016 WL 5110505,

 at *2 (N.D. Ga. Sept. 20, 2016) (“Sometimes the evidence of false exculpatory statements is

 excludable because a necessary inference is implausible under the circumstances.” (quoting 1

 Christopher B. Mueller & Laird C. Kirkpatrick, Federal Evidence § 4:4 (4th ed. May 2016 Update)

 (cleaned up)).

                  2.    Evidence Related to Mr. Schwartz’s Eye Surgery Is Inadmissible
                        Under Rule 403 Because the Risks Associated with Its Introduction
                        Substantially Outweigh Its Probative Value, If Any

                  Even assuming that the medical records and emails the Government seeks to

 introduce at trial have some limited probative value, they must be excluded under Rule 403 because

 their introduction would have an overwhelmingly unfair prejudicial effect that significantly

 outweighs any limited probative value. See Fed. R. Evid. 403; United States v. Aranda-Diaz, 31

 F. Supp. 3d 1285, 1291 (D.N.M. 2014) (excluding defendant’s statements that were probative of

 consciousness of guilt, but presented a substantial danger of unfair prejudice and confusion of the

 issues); United States v. Mathis, 2012 WL 691586, at *3 (W.D. Pa. Mar. 1, 2012) (prohibiting the


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 Government from introducing evidence of defendant’s consciousness of guilt where its “limited

 probative value [wa]s substantially outweighed by the danger of unfair prejudice to defendant.”).

                Indeed, as discussed above, courts routinely prohibit the introduction of evidence

 like this that would, at best, cause confusion and result in mini-trials addressed to collateral issues.

 See, e.g., Ridge v. Davis, 2022 WL 16737299, at *10 (S.D.N.Y. Nov. 7, 2022) (precluding

 admission of medical records under Rule 403 where they had “limited probative value” and would

 be “highly prejudicial and . . . likely to confuse the issues”); Lauria v. Nat’l R.R. Passenger Corp.,

 1997 WL 141870, at *2 (E.D. Pa. Mar. 24, 1997), aff’d, 145 F.3d 593 (3d Cir. 1998) (granting

 motion in limine to preclude personnel and medical records under Rule 403 because their probative

 value was “substantially outweighed by the prejudicial effect”); Dantzler (Margaret) v. S P Park,

 Inc., 1989 WL 97752, at *4 (E.D. Pa. Aug. 21, 1989) (explaining that, while information of the

 “plaintiff’s prior medical condition is relevant to the issue of damages,” the reading of this

 information into evidence “can result in unfair prejudice and result in the introduction of collateral

 issues”); see generally United States v. Georgiou, 777 F.3d 125, 144 (3d Cir. 2015) (“Federal Rule

 of Evidence 403 authorizes a district court to ‘exclude collateral matters that are likely to confuse

 the issues.’” (quoting United States v. Casoni, 950 F.2d 893, 919 (3d Cir.1991)); Brugler v. Unum

 Grp., 2019 WL 4452226, at *12 (M.D. Pa. Sept. 17, 2019) (same).

                That introduction of Mr. Schwartz’s medical records related to his April 24, 2014

 eye surgery would result in a mini-trial could not be clearer. As the Government’s proposed trial

 exhibits show, Mr. Schwartz was diagnosed in 2014 with skin cancer—specifically, basal cell

 carcinoma on his lower left eyelid. Exs. 2–4, 6, 14, GX-87, GX-88, GX-89, GX-118, GX-227.

 Given the cancer’s “close proximity to the globe” of the eye, Mr. Schwartz’s doctor recommended

 that he promptly undergo Mohs surgery and oculoplastic closure—a procedure that, for Mr.




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 Schwartz, was beset with complications during the week of his surgery and thereafter. Exs. 10–

 13, GX-126, GX-130, GX-154, GX-225. The facts related to those complications, the process

 leading up to and immediately following Mr. Schwartz’s surgery, and various other collateral

 issues, such as Mr. Schwartz’s temperament and how he reacts to medical issues, would

 necessarily be the subject of significant litigation at trial—including potential testimony by

 multiple expert medical witnesses—if the Government were permitted to introduce the medical

 records identified on its preliminary exhibit list. The mini-trial that would ensue would include

 testimony and evidence regarding, for example, technical complexities associated with basal cell

 carcinoma and Mohs surgery, particularly when near the eye; the particular symptoms and side-

 effects that Mr. Schwartz endured as a result of his medical condition and subsequent surgery; the

 stress associated with Mr. Schwartz’s diagnosis and surgery; and the impact of that stress on his

 memory and ability to form long-term memories, such as those about which he was questioned by

 DLA in his September 23, 2016 interview. See, e.g., United States v. Norwood, 939 F. Supp. 1132,

 1137–38 (D.N.J. 1996) (admitting expert testimony on the issue of how “an intense level of stress

 impairs memory” and the “‘forgetting curve’ phenomenon, [pursuant to which] memory weakens

 at a non-constant rate with the passage of time, with most of the forgetting taking place within the

 first hours following the event, and certainly within the first few days following the event”); see

 also United States v. Downing, 753 F.2d 1224, 1231–32 (3d Cir. 1985) (Rule 702 permits

 defendant to present expert testimony regarding memory formation and stress).

                In other words, unless the Government is precluded from introducing at trial the

 extraneous medical records that it has pre-marked as exhibits, precisely the type of unnecessary,

 time-consuming, and distracting mini-trial that Rule 403 guards against would result. See, e.g.,

 United States v. Jimenez, 513 F.3d 62, 76 (3d Cir. 2008) (finding that the “marginal relevance and




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 the risk of delay and confusion created by a mini-trial to explain the evidence” supported the

 district court’s ruling limiting testimony under Rule 403); Blancha v. Raymark Indus., 972 F.2d

 507, 516 (3d Cir. 1992) (“evidence may be excluded when its admission would lead to litigation

 of collateral issues, thereby creating a side issue which might distract the jury from the main

 issues”); Rosales v. Kelly, 2011 WL 5873374, at *3 (S.D.N.Y. Nov. 14, 2011) (granting motion in

 limine to preclude medical records and finding that “any probative value that the disputed medical

 record may have is substantially outweighed by the danger for this evidence to confuse the jury”).

 This evidence should not be allowed.

                                   *               *               *

                In sum, in determining whether evidence related to Mr. Schwartz’s eye surgery and

 attendance at the April 22, 2014 Mets game should be admitted at the trial of this matter, the Court

 must first inquire whether the evidence meets the relevance standard of Rules 401 and 402; as set

 forth above, for both types of evidence, this proposed evidence fails that test. Second, and only if

 that threshold standard is met, the Court must then weigh probative value, if any, against the very

 real prejudice that will result if this evidence is presented to the jury. That prejudice includes not

 only the delay associated with inevitable mini-trials that will be necessitated by the issues raised

 by these exhibits, but also the significant risk of unfair prejudice, confusion of the issues, and

 misleading the jury. Accordingly, Mr. Schwartz respectfully submits that the outcome of these

 tests is clear, and that Rules 401, 402 and 403 require that GX-87, GX-88, GX-89, GX-108, GX-

 113, GX-116, GX-118, GX-119, GX-120, GX-121, GX-126, GX-130, GX-154, GX-225, GX-227,

 and GX-228, and any evidence of the medical procedure reflected therein, be precluded at trial.




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 II.      THE COURT SHOULD EXCLUDE EVIDENCE OF MR. SCHWARTZ’S
          RESPONSES TO QUESTIONS, POSED DURING AN INTERNAL
          INVESTIGATION CONDUCTED BY COGNIZANT’S OUTSIDE COUNSEL,
          THAT CALLED FOR HYPOTHETICAL ANSWERS AND LEGAL
          CONCLUSIONS

                                   RELEVANT BACKGROUND

          A.      Cognizant’s Counsel Asked, and Mr. Schwartz Answered, Hypothetical
                  Questions and Questions Calling for Legal Conclusions

                  In 2016, as part of its internal investigation and cooperation with the Government,

 Cognizant’s outside counsel at DLA interviewed a number of Cognizant employees, including Mr.

 Schwartz. Mr. Schwartz was interviewed twice, once on August 28, 2016 and again on September

 23, 2016.7 During both interviews, Mr. Schwartz was compelled to answer questions about

 hypothetical scenarios, including questions about how he “might have” acted under certain

 circumstances. In some instances, the hypothetical questions directly contradicted Mr. Schwartz’s

 prior answers and also assumed circumstances different from the ones actually present. In other

 instances, Cognizant’s outside counsel asked Mr. Schwartz questions that called for legal

 conclusions, including his personal views on whether certain actions or inactions “would have”

 violated the FCPA, or, conversely, to confirm that his actions or inactions did not satisfy particular

 legal defenses, including in relation to legal issues on which the Court will instruct the jury and on

 which the jury will apply those legal instructions to the facts.

                  Mr. Schwartz was asked questions that both presented hypothetical scenarios and

 called for legal conclusions. In answering these questions, Mr. Schwartz was not asked for (and

 did not offer) any meaningful legal analysis. Rather, during both interviews, Mr. Schwartz

 provided off-the-cuff legal conclusions without either being asked to provide or providing a legal


 7     As noted in footnote 2, supra, Mr. Schwartz contests the quotations attributed to him in the
       DLA interview memoranda.



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 rationale for his answers. For example, Mr. Schwartz was asked about another alleged bribe

 demand at the KITS facility, different from the $2 million bribe demand directly at issue in this

 case. The DLA interview memo reports the following answer: “Schwartz’s ‘heart sank’ because

 he did not know if the payment had been made, and if it had been made it would be a clear violation

 of the Foreign Corrupt Practices Act (‘FCPA’).” Id. at 4365; see also August 28, 2016 Steven

 Schwartz Interview Memorandum, Ex. 23, August 28, 2016 Steven Schwartz Interview

 Memorandum, CTS_R17_0004324 at 4326. Thus, Mr. Schwartz was apparently asked both to

 answer a hypothetical question (“he did not know if the payment had been made”) and to state a

 legal conclusion (“it would be a clear violation” of the FCPA). Ex. 1, CTS_R17_0004363 at 4365.

 Moreover, Mr. Schwartz was not asked to explain (and did not offer any explanation of) his view

 or elaborate on which provision of the FCPA would have been violated and why. According to

 DLA’s interview memorandum, Schwartz was soon asked another hypothetical question:

 “Schwartz was asked if an offer would also be a violation and he acknowledged that it would be.”

 Id. Once more, Mr. Schwartz was not asked to and did not offer any explanation for this conclusion

 or the facts or factors relevant to it, or any analysis of which particular part of the statute might be

 violated by an offer to pay a demand.

                On multiple occasions, Mr. Schwartz’s alleged answers to DLA’s purported

 questions included statements about how he might have acted or what he might have been thinking

 under certain circumstances.      Many of these questions posed hypothetical scenarios about

 potentially improper payments. During his second interview, Mr. Schwartz proactively raised with

 the DLA interviewers an instance in which Anand Bhushan, then-General Counsel of Cognizant

 India, had communicated in writing that Cognizant had been asked to pay $250,000 to Indian

 government officials to resolve a regulatory issue. Ex. 1, CTS_R17_0004363 at 4366. Mr.




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 Schwartz told the questioners that he had reported this incident to Dana Gilbert, Cognizant’s Chief

 Compliance Officer, to the Audit Committee, and to the full Board of Directors, in part because

 the request for the improper payment conveyed by Mr. Bhushan was specific, concrete, and in

 writing. Id.

                Then, according to the interview memo, Mr. Schwartz was asked a hypothetical

 question “as to whether it would be any different if Bhushan had made an oral request to authorize

 payment.” Id. at 4366. The section of the DLA interview memo recording Mr. Schwartz’s alleged

 answer makes clear the unusual and confusing nature of the question and his answer:

                Upon consideration as to whether it would be any different if
                Bhushan had made an oral request to authorize payment, after a
                pause, Schwartz responded, “if it were a serious question,” then his
                response would be the same. “This was more than a rhetorical
                question.” In this situation, “we were really being asked to do this….
                This wasn’t just a question asked for [Schwartz] to say no. [Bhushan]
                was serious about it.”

 Id. Here, in addition to a hypothetical question having been posed to Mr. Schwartz, the DLA

 memo writer apparently seeks to set a scene (noting that Mr. Schwartz answered the question “after

 a pause”) when framing Mr. Schwartz’s alleged answer.

                According to the memo, Mr. Schwartz then proactively raised another instance in

 which Mr. Bhushan had communicated a request for an improper payment to him in writing, this

 time for $10,000. Id. at 4367. Once again, the interview memo reveals the confusing nature of

 the counterfactual hypothetical the DLA interviewers asked him in response:

                Schwartz again considered whether he would have done the same
                thing if Bhushan had mentioned the USD 10 K request to him orally.
                Schwartz said that in this case, based on how Bhushan said it, he
                would have responded the same.

 Id. According to the interview memo, Mr. Schwartz is again asked how he would have handled

 an oral demand that did not occur, and his alleged answer contains the confusing phrase “based on



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 how Bhushan said it,” a phrase that has no clear meaning when the memo had previously reported

 that the request was in writing.

                The DLA interviewers eventually turned their questioning to the April 2014 calls

 that the Indictment alleges occurred among Mr. Schwartz, Mr. Coburn, Sridhar Thiruvengadam

 (“Sridhar”), and Srimanikandan Ramamoorthy (“Mani”), in which Mr. Schwartz and Mr. Coburn

 allegedly approved the payment of a bribe. During a prior, August 28, 2016 interview, Mr.

 Schwartz had given his recollection of what he recalled as an in-person meeting with Mr. Coburn,

 as reported in that interview memo:

                When asked if he remembered a conversation with Coburn, Sridhar,
                Mani about payment of a bribe, Schwartz responded that he
                remembered only one conversation with Coburn - he believed in
                2014 - and he did not remember the word bribe being used. Coburn
                said he was having a challenge getting approvals on a real estate
                transaction. Schwartz said he didn’t know what the facility was.
                Coburn asked two questions. He asked “I can’t make a payment to
                help with these approvals?” Schwartz said, “correct.” Coburn then
                asked “and I can’t do that through a third party?” Schwartz
                answered, “correct.” Schwartz said he did not remember what
                facility the conversation concerned.

                Schwartz said the conversation was short and, to his knowledge,
                involved only Schwartz and Coburn. Schwartz was walking by his
                office and Coburn called him in. Coburn did not indicate what the
                potential payment would have addressed or to whom it might be
                paid. Coburn did not say anything about L&T or any other third
                party. He did not mention the amount. When asked if he thought
                Coburn was telling him about something he was doing or there was
                an actual demand, Schwartz said he took it as a rhetorical question.
                He said people do this to him and other lawyers all the time. They
                want the lawyers to be the bad guy. Coburn had never considered
                doing it before and was not considering it then, he said.

 August 28, 2016 Steven Schwartz Interview Memorandum, Ex. 23, CTS_R17_0004324 at 4332.

                The memoranda of both interviews cite Mr. Schwartz as consistently having only a

 recollection of an in-person conversation with Mr. Coburn and no recollection of a telephone or




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 video conversation with Mr. Coburn, Sridhar, and Mani. E.g., August 28, 2016 Steven Schwartz

 Interview Memorandum, Ex. 23, CTS_R17_0004324 at 4335 (“Schwartz did not remember a

 meeting with Mani, Coburn, and Sridhar concerning the potential KITS payment.”); id. at 4336

 (“Schwartz indicated he did not remember the call referenced in the email.”); id. (“Schwartz did

 not remember the topic of conversation in this call.”); Ex. 1, CTS_R17_0004363 at 4372 (“He was

 asked if he remembered when he was questioned about a conversation with Coburn, Sridhar and

 Mani about getting permits at KITS. He remembered saying no.”); id. at 4374 (“Schwartz repeated

 that he did not remember such a call.”); id. (“Schwartz did not recall having calls on April 22 with

 Mani, Coburn, and Sridhar . . . ”); id. at 4375 (“Schwartz claimed that he did not remember the

 calls referenced in these emails.”); id. at 4378 (“He claimed that he still did not remember the

 calls.”).

                But despite Mr. Schwartz’s repeated, consistent statements that he did not

 remember any such calls, the DLA interviewers repeatedly asked Mr. Schwartz hypothetical

 questions that assumed the calls had occurred, in direction contravention of Mr. Schwartz’s

 answers. The interview memo states:

                When asked if he did anything about the bribery-related red flags
                raised on the call, Schwartz said he did not remember taking any
                actions or going to anyone about them. He was asked what should
                be done with this kind of information. He responded that he should
                have reported it up because it was serious. He said it would be a
                violation of policy if they made an improper payment. When asked
                if having a discussion to consider making an improper payment was
                a violation of CTS policy, he did not respond verbally but moved
                his head and shoulders as if to indicate maybe. Schwartz admitted
                that the Board and the Audit Committee would want to know about
                a demand for a USD 2 M payment and under normal circumstances,
                he would report it up.

 Id. at 4378. The questioning continued, again as recorded in the interview memo:

                He was asked, “What should the Company do about this?” “Is it a
                gross failure?” Schwartz replied that he did not know. Schwartz said


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                he would have told the participants on the call that they could not
                make an improper payment but he has no notes or memorandum that
                reflects such advice and nothing to corroborate his story. He
                indicated, however, that he had said no to smaller amounts in the
                past and his history at the company supported his position.

 Id. Again, the DLA interviewers’ hypothetical questions ignored Mr. Schwartz’s prior statements

 about his recollection.

                According to the interview memo, the DLA interviewers then returned to asking

 questions that presented hypothetical scenarios and called for legal conclusions. First, the DLA

 lawyers showed Mr. Schwartz Cognizant’s anti-corruption policy and directed him to review

 certain prohibitions in the policy “against turning a ‘blind eye’ toward potentially improper

 payments.” Id. at 4379. Then, despite Mr. Schwartz’s having previously stated that he did not

 remember the calls and had undergone a surgery that week, the DLA lawyers apparently posed

 questions that assumed the opposite of his prior statements and, in doing so, asked him to address

 the legal concept of willful blindness. The DLA memo records Mr. Schwartz’s answer as:

 “Schwartz admitted that if he had been ‘with it’ when he was on the April call then it would be

 appropriate to conclude that he turned a blind eye.” Id.

                Then, the DLA interviewers continued to ask hypothetical questions that

 contradicted Mr. Schwartz’s prior statements. Mr. Schwartz’s purported answer, which, as noted,

 he disputes, is reported in the interview memo:

                “I don’t love the note, but if I remembered this, I would have gone
                to Internal Audit. I would have gone to Frank and asked them to
                look into Real Estate.” He said if he had a memory of it, then
                Steven’s lawyer would know about it. He said if he had been “with
                it” that week, he would have reported it.

 Id.




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                 Mr. Schwartz was also asked questions that asked him to interpret the notes he had

 allegedly taken of the April 22, 2014 call—notes that he did not remember taking8—while also

 asking him to assume he had been “with it.” For instance, according to the interview memo, “He

 was asked if lines 12 and 13 of his notes were red flags. He said yes they would be if he were ‘with

 it.’” Id. at 4380.

                 Mr. Schwartz was also asked questions that called for him to draw a legal

 conclusion about the notes he did not remember:

                 Q:     Are the references to $2 million and $670,000 in the notes
                        facilitation payments?

                 A:     They are not.

 Id. Here, the DLA lawyers were apparently attempting to neutralize a potential defense based on

 the facilitation payment exception to the anti-bribery provisions of the FCPA. 15 U.S.C. § 78dd–

 1(b) (FCPA’s prohibition “shall not apply to any facilitating or expediting payment to a foreign

 official, political party, or party official the purpose of which is to expedite or to secure the

 performance of a routine governmental action by a foreign official, political party, or party

 official.”). If the DLA lawyers are permitted to testify as to this questioning, the jury will be faced

 with an exchange, the accuracy of which Mr. Schwartz contests, asking Mr. Schwartz to draw a

 legal conclusion, premised on notes he stated he did not remember taking of a call he also did not

 remember, and using the same legal terms on which the Court will eventually instruct the jury.

                 The DLA lawyers continued to pose hypothetical after hypothetical, all inconsistent

 with Mr. Schwartz’s earlier statements, now seeking to hone in on the elements of a willful

 blindness theory:


 8   E.g., Ex. 1, CTS_R17_0004363 at 4376 (“‘I’m not denying these are my notes.’ He added,
     ‘but I don’t remember.’ He said he does not remember the week.”); id. at 4378 (“Schwartz said
     he could not remember and he did not know what the references meant.”)

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                Q:      Had you been competent that week, would the call have put
                        you on notice that an improper payment was substantially
                        likely to occur?

                A:      Yes.

 Id. Here, in asking Mr. Schwartz, had he been competent, whether he would have been on notice

 that an improper payment was “substantially likely” to occur, the DLA lawyers were using an

 identical concept to the Third Circuit’s model jury instruction on willful blindness, which requires

 a defendant to believe there was a “high probability” that a fact or circumstance existed. Third

 Circuit Model Criminal Jury Instruction 5.06 (“Willful Blindness”) (defendant’s subjective belief

 that there was a “high probability” that a circumstance existed is a necessary element to establish

 willful blindness).

                The DLA lawyers then asked Mr. Schwartz to draw a direct legal conclusion as to

 whether he had violated the FCPA, as reported in the interview memo:

                Q:      Did you understand that someone who fails to pursue a red
                        flag could be found to have violated the FCPA?

                A:      Yes.

 Ex. 1, CTS_R17_0004363 at 4380–81. Of course, whether Mr. Schwartz violated the FCPA is the

 ultimate legal issue in this case, and the Court will instruct the jurors in detail on the statute. The

 question from DLA contains no explanation whatsoever of what “found to have violated the

 FCPA” might mean, and the Indictment does not charge Mr. Schwartz with “fail[ing] to pursue a

 red flag.” The jurors will have no way to evaluate Mr. Schwartz’s alleged answer.

                Next, the DLA lawyers returned to questioning Mr. Schwartz on willful blindness,

 while once again ignoring Mr. Schwartz’s prior factual answers. According to DLA’s memo, the

 exchange was as follows:

                Q:      If you were aware during this week, would you agree that
                        this would be willful blindness?


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                A:     Absolutely.

 Id. at 4381. Willful blindness is a theory of liability that the Government may pursue at trial and

 on which the Court may, if the required conditions are met, instruct the jury. The jurors, however,

 will have no way of knowing whether, when Mr. Schwartz allegedly answered a hypothetical

 question using the same legal term with a one-word answer, he understood “willful blindness” in

 the manner in which they will be instructed, or in a more colloquial sense, or indeed if he

 understood its meaning at all.

                There is more. Counts Six through Eight of the Indictment charge Mr. Schwartz

 and Mr. Coburn with violations of the books and records provisions of the FCPA for allegedly

 providing false Sarbanes-Oxley (“SOX”) certifications. Not content to limit their questioning to

 the very legal concepts on which the Court will instruct the jury, the DLA lawyers asked

 hypothetical questions about what would eventually become the charges themselves. As DLA’s

 memo states:

                Q:     You sign a SOX certification every year in which you
                       represent that you have evaluated internal controls and
                       reported deficiencies in internal controls. Would failing to
                       report the call be a violation of that certificate?

                A:     Yes, and I would have reported it if I was in my right mind.

 Ex. 1, CTS_R17_0004363 at 4381–82.9 Here, the DLA lawyers, in the guise of a hypothetical,

 asked Mr. Schwartz, in effect, whether he was guilty of what would later become a charged count.

                None of this was an accident. As the Court has found, Cognizant and DLA were

 not neutral questioners or reporters of what was asked or said; they were motivated to protect the



 9   This is a particularly powerful example of DLA’s skewed reporting of the interview; in fact,
     Mr. Schwartz and Mr. Coburn immediately reported the call to Lakshmi Narayanan, the Vice
     Chair of Cognizant’s Board. DLA apparently did not focus its interview on that portion of the
     note or Mr. Schwartz’s explanation of it.

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 Company by building a case against its senior executives. ECF No. 263 at 23–24 (noting

 Cognizant’s “obvious incentives to shift blame” and that Cognizant “performed an investigation

 for the purpose of exculpating itself”). As the Court has found, the interviews were not voluntary,

 as Mr. Schwartz sat for them under penalty of termination. ECF No. 495 at 11 (“To start, the

 record establishes that the interviews of Coburn and Schwartz by DLA were compelled.

 Cognizant’s policies required employees to cooperate fully with internal investigations or face

 potential termination.”). The interviews were conducted by a former Assistant United States

 Attorney, Karl Buch, who phrased the questions in the language of the criminal law, in which Mr.

 Schwartz, as a corporate lawyer, had no particular expertise. And Mr. Schwartz’s counsel was

 permitted neither to interpose objections nor to take any notes in order to make his own record of

 the interview. ECF No. 495 at 4 (“The DLA attorneys who interviewed Schwartz, including Buch,

 set and enforced strict ground rules for the interview, including prohibiting Schwartz from having

 more than one lawyer present and not allowing that lawyer to take notes or ask questions.”).

                                           ARGUMENT

        B.      Mr. Schwartz’s Answers to Questions that Presented Hypothetical Situation
                and Called for Legal Conclusions Should Be Excluded Under Rules 401 and
                402

                As explained above, see supra Section I.A.1., evidence that “has any tendency to

 make a fact more or less probable than it would be without the evidence” is relevant if “the fact is

 of consequence in determining the action.” Fed. R. Evid. 401. In a criminal case, evidence is

 relevant where it makes it “more or less likely” that the defendant committed the offenses charged.

 See Johnson, 143 F. App’x at 438. The operative inquiries under Rule 401 are whether the

 evidence “possesses sufficient probative value to justify receiving it into evidence” and “tend[s]

 to prove the matter sought to be proved.” Fed. R. Evid. 401 advisory committee’s note to 1972

 proposed rules. “Irrelevant evidence is not admissible.” Fed. R. Evid. 402.


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                Mr. Schwartz’s answers to questions posing hypothetical scenarios are irrelevant

 because they would not assist the jury in determining whether it is more or less likely that he

 committed the offenses with which he is charged. When considering the propriety of admitting

 such questions and answers, it is useful to consider whether the Court would permit such

 questioning of a defendant who chose to testify in a criminal case. It is hard to believe that the

 Court would permit a criminal defendant to be asked hypothetical questions that, like those posed

 here, were based on events that the defendant said he did not remember or went further and were

 based on asserted facts that the defendant had denied. The reason is clear: a fact witness, much

 less a criminal defendant, cannot offer an answer with any real relevance or probative value to a

 hypothetical question based on facts he does not recall or denies. Indeed, such questioning would

 strain to the breaking point even the greater tolerance for hypothetical questions in examinations

 of expert witnesses. Teen-Ed, Inc. v. Kimball Intern., Inc., 620 F. 2d 399, 404 (3d Cir. 1980)

 (noting that the “essential difference” between lay and expert testimony “is that a qualified expert

 may answer hypothetical questions”).

                In effect, the DLA interviewers asked Mr. Schwartz, in 2016, to conduct thought

 experiments, based on hypothetical scenarios he had denied or asserted facts that he did not recall,

 and then to provide answers as to what he might have thought or how he might have acted, under

 those hypothetical scenarios, in 2014. Such questions might have been interesting to a company

 investigating its Chief Legal Officer, but it is hard to see how they can be relevant or admissible

 under the Federal Rules of Evidence.

                Moreover, the relevance and probative value of allowing such questions and

 answers in this case is diminished even further here, where (i) the questioning will not occur in

 open court with the chance for defense counsel to object and for the Court to rule; (ii) the




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 questioning did not occur with any of the other protections of the courtroom (or even the lesser

 protections of an interview conducted by the Government, as the Court has found, due to the strict

 prohibitions in place during the interviews); (iii) the questions were asked in 2016 about Mr.

 Schwartz’s conduct and state of mind in 2014; and (iv) the DLA witness at trial will testify seven

 years after the interviews took place.

                Furthermore, Mr. Schwartz’s purported answers to questions that asked him to draw

 legal conclusions regarding the governing law at issue in this case likewise would provide minimal

 probative value at trial and are accordingly irrelevant. Again, it is instructive to consider how the

 Court would rule on such questioning at trial. And, again, the questioning took place under the

 circumstances discussed directly above, with none of the due process protections of the courtroom.

                The questions and answers that called for legal conclusions are irrelevant because

 Mr. Schwartz’s answers to questions about whether his hypothetical conduct (again, with those

 hypotheticals consistently contradicting his prior statements) amounted to willful blindness, made

 out a facilitation payment defense under the FCPA, or violated the books and records provisions

 of the FCPA, when none of those legal topics were explored in a way that can ensure consistency

 with the Court’s jury instructions, on their terms do not proceed from facts (but instead from

 hypotheticals) and seek a legal conclusion rather than a factual answer. They therefore cannot and

 do not have “any tendency to make a fact more or less probable than it would be without the

 evidence.” Instead, they threaten to invade the province of the Court to instruct the jury on the

 law and of the jury to apply the facts to the law. See Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d

 195, 217 (3d Cir. 2006) (prohibiting legal opinion testimony “because it would usurp the District

 Court’s pivotal role in explaining the law to the jury”); United States v. Leo, 941 F.2d 181, 196

 (3d Cir. 1991) (stating that “it is not permissible for a witness to testify as to the governing law




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 since it is the district court’s duty to explain the law to the jury”). Simply put, even assuming that

 they are accurately reported, which Mr. Schwartz disputes, his off-the-cuff answers, frequently

 limited to one word or a handful of words, to questions as to whether hypothetical conduct (which

 he did not recall or denied) matched or did not match certain legal principles that were only vaguely

 described in the questions, if at all, are irrelevant to the jury’s determination of the facts of this

 case because they seek a legal conclusion, not a factual answer.

        C.      Mr. Schwartz’s Answers to Questions That Presented Hypothetical Situations
                and Called for Legal Conclusions Should Be Excluded Under Rule 403

                As explained above, see supra Section I.A.2., evidence must be excluded if “its

 probative value is substantially outweighed by the danger of unfair prejudice, confusion of the

 issues, or misleading the jury, or by considerations of undue delay, waste of time, or needless

 presentation of cumulative evidence.” Fed. R. Evid. 403.

                1.      The Probative Value of the Statements Is Minimal

                For all the same reasons stated above regarding relevance under Rule 401, the

 probative value, for the purpose of Rule 403’s balancing test, of Mr. Schwartz’s answers to

 questions that presented hypothetical situations and called for legal conclusions is minimal at best.

 DLA’s hypothetical questions, which consistently proceeded from premises that contradicted Mr.

 Schwartz’s prior statements and his limited recollection, can prove nothing, other than how Mr.

 Schwartz thought he might have acted under conditions that he denied or could not recall. DLA’s

 questions that go a step further by calling for a legal conclusion also could not and did not generate

 answers with probative value. They were non-factual, both because—even if they were accurately

 reported—they proceeded from hypothetical facts directly contrary to Mr. Schwartz’s prior

 statements, and because they did not seek factual answers, but instead sought Mr. Schwartz’s

 conclusions as to the law, such as whether Mr. Schwartz was willfully blind.



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                2.      The Statements’ Limited Probative Value Is Significantly Outweighed
                        by the Risk of Unfair Prejudice, Confusion, and Waste of Time

                Any minimal probative value that Mr. Schwartz’s answers to questions presenting

 hypothetical situations and calling for legal conclusions might possibly have is significantly

 outweighed by the risk of unfair prejudice, jury confusion, and waste of time.

                Mr. Schwartz’s answers to hypothetical questions are very likely to confuse the

 jury, thereby unfairly prejudicing Mr. Schwartz. Specifically, the likeliest effect of admitting these

 statements at trial would be to distort jurors’ perceptions on the critical issue of what Mr. Schwartz

 knew or believed in 2014. For example, questions that asked Mr. Schwartz to analyze hypothetical

 situations, such as whether certain lines from notes of the April 22, 2014 call would be “red flags,”

 see Ex. 1, CTS_R17_0004363 at 4380, are very likely to confuse the jury regarding Mr. Schwartz’s

 state of mind in 2016, when he was asked those questions, as compared to 2014, when the call at

 issue took place, while providing little, if any, probative value in determining Mr. Schwartz’s

 conduct and state of mind in 2014. While, of course, a person may state something at a later date

 that bears upon their state of mind at an earlier date, that is not what DLA’s questions elicited.

 Instead, as discussed above, DLA’s questions were thought experiments, based on hypothetical

 facts that Mr. Schwartz denied or did not recall, that sought his answers in 2016 as to what he

 might have thought or did, if those hypothetical scenarios had obtained in 2014. Jurors will

 necessarily be confused as to whether Mr. Schwartz’s answers speak to his state of mind and

 conduct in 2016 or 2014. As a result, the questions fail Rule 403’s balancing test.

                Moreover, a number of the questions Mr. Schwartz answered were unfairly

 prejudicial because they sought speculative responses that rested upon an assumption of guilt,

 known in the caselaw as guilt-assuming hypotheticals.            Guilt-assuming hypotheticals are

 questions, which assume either that the defendant has committed certain acts that are part and



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 parcel of a crime, as the questions did here, or go further to assume the defendant’s guilt. These

 questions are most commonly encountered in the caselaw concerning character witnesses. E.g.,

 United States v. Kellogg, 510 F.3d 188, 192 (3d Cir. 2007) (“Sir, would you agree with me that a

 person who knows that a laboratory used one particular analytical method, but then who reports

 out a completely different analytical method on final reports of analysis to its customers, would

 your opinion be different about that person being [a] law abiding citizen?”) (alteration in original).

 Courts universally express a deep concern that such questions undermine the presumption of

 innocence and are unfairly prejudicial to defendants. E.g., United States v. Candelaria-Gonzalez,

 547 F.2d 291, 294 (5th Cir. 1977) (“These hypothetical questions struck at the very heart of the

 presumption of innocence which is fundamental to Anglo-Saxon concepts of fair trial. We think

 that the risk of prejudice to defendant’s basic rights from such questions requires reversal. The

 questions put have no place in a criminal trial.”); Kellogg at 194 (collecting cases and stating:

 “Generally, the reason given for these holdings is that a guilt-assuming hypothetical impairs the

 presumption of innocence and thus violates the defendant’s due process rights. A few Courts have

 also noted that an alternative basis for holding guilt-assuming hypotheticals are improper is that

 they are unfairly prejudicial to the defendant, which would indeed seem to follow necessarily from

 a conclusion that there had been a due process violation.”) (citations omitted).

                In Kellogg, the Third Circuit countenanced a very narrow permissible scope for

 such questions, forbidding them to be asked of reputation character witnesses, id. at 196, but

 permitting them to be asked of opinion character witnesses, id. And even then, the Third Circuit

 warned that such questioning may, as here, “prove problematic if it arises in circumstances that

 implicate the presumption of innocence or otherwise undermine due process.” Id. In Kellogg,

 which again did not address the substantially more fraught question whether a criminal defendant




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 himself or herself may be asked a guilt-assuming hypothetical, the Third Circuit found the limited

 questioning of an opinion character witness using guilt-assuming hypotheticals acceptable only

 because “its hypothetical nature was so emphasized as to allay any real concern about undermining

 the presumption of [defendant’s] innocence.” Id. That is obviously not the case here. Indeed, if

 guilt-assuming hypotheticals are permissible in only such narrow circumstances and broadly

 impermissible, then (though the defense has located no caselaw directly on point) they are

 impermissible a fortiori in the context of testimony as to the interview of a criminal defendant,

 where the prejudice arising from such questions is so patent and the resulting threat to the

 presumption of innocence so profound.

                 As just one example of the impermissible guilt-assuming hypotheticals with which

 Mr. Schwartz was confronted during his September 23, 2016 interview, we can turn to the question

 in which DLA asked Mr. Schwartz about his SOX certification:

                 Q:     You sign a SOX certification every year in which you
                        represent that you have evaluated internal controls and
                        reported deficiencies in internal controls. Would failing to
                        report the call be a violation of that certificate?

                 A:     Yes, and I would have reported it if I was in my right mind.

 Ex. 1, CTS_R17_0004363 at 4381–82. This question, and Mr. Schwartz’s purported answer, even

 assuming they are accurately reported, is guilt-assuming in that its premise is that he failed to

 report a call on which a bribe demand was both discussed and approved. This is true of many of

 DLA’s questions, which asked Mr. Schwartz to assume that he was on a call during which a bribe

 demand was discussed (which he said he did not recall) and, according to DLA, approved (which

 he categorically denies), thereby assuming his guilt.10 Under the caselaw, and in light of the



 10   E.g., id. at 4380 (“Q: Had you been competent that week, would the call have put you on notice
      that an improper payment was substantially likely to occur? A: Yes.”); id. at 4381 (“Q: Did


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 fundamental nature of the presumption of innocence, any such guilt-assuming hypothetical

 questions and Mr. Schwartz’s answers should be precluded at trial as unfairly prejudicial.

                In addition, Mr. Schwartz’s answers to questions calling for legal conclusions are

 likely to confuse the issues and mislead the jury which could easily be confused into

 misunderstanding them as specific admissions of guilt, rather than abstract comments in response

 to general, imprecise, speculative questions about the law that Mr. Schwartz may not have

 understood in the same way as the jury will be instructed. Mr. Schwartz’s responses to questions

 that asked him to offer a legal conclusion as to what would constitute a red flag, willful blindness,

 a facilitation payment, or a violation of the books and records provision of the FCPA have scant

 or no probative value, but rather would tend to muddle the jury’s understanding and application of

 the law to the evidence admitted at trial. Under the balancing that the Court must conduct to weigh

 these interests, the danger of unfair prejudice and confusing the jury that would result from

 presenting Mr. Schwartz’s answers to hypothetical questions calling for legal conclusions

 substantially outweighs any limited probative value. Cf. United States v. Nikolov, 1998 WL

 205793, at *2 (9th Cir. Apr. 15, 1998) (finding that, while a lay witness’ testimony was not

 probative of any fact in issue, it was not unfairly prejudicial, and thus not inadmissible, only

 because the statements were general and specifically avoided drawing legal conclusions).

 Moreover, as discussed above, exchanges in which Mr. Schwartz was asked to offer legal

 conclusions invade the provinces of both the Court and the jury, a concern which weighs against

 admissibility on both sides of the Rule 403 balance, in that such answers lack probative value and

 risk confusion of the issues and misleading the jury.




    you have an obligation to report this potential improper payment? A: Yes, in my right mind I
    would have had an obligation to report and would have reported it.”).


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                Finally, admitting Mr. Schwartz’s responses to hypothetical questions and legal

 conclusions would result in a waste of time that substantially outweighs any limited probative

 value. If the statements were admitted, Mr. Schwartz would need to rebut that evidence with proof

 of his actual understanding of and adherence to the FCPA in both 2014 and 2016 in order to

 contextualize the responses to hypothetical questions and speculative legal conclusions that he

 made while being interviewed. Courts in this jurisdiction have frequently excluded evidence that

 would lead to such wasteful litigation of extraneous issues. E.g. United States v. Benjamin, 125

 F. App’x 438, 440 (3d Cir. 2005) (finding district court’s refusal to allow cross-examination of

 witness on extraneous issues to be reasonable given “considerations such as undue waste of time

 and confusion of the issues under Rule 403”).

                For the foregoing reasons, Mr. Schwartz respectfully requests that the Court

 exclude from evidence questions put to him during interviews by Cognizant’s outside counsel that

 presented hypothetical scenarios or called for legal conclusions and his answers to those questions.




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 III.    L&T’S STATEMENTS TO THE NATIONAL STOCK EXCHANGE OF INDIA
         SHOULD BE ADMITTED PURSUANT TO FEDERAL RULE OF EVIDENCE 807

                   The Government’s theory of the case is that L&T Construction, a unit of L&T,

 facilitated the payment of a bribe to an Indian official and then sought and received reimbursement

 for that bribe from the Indian subsidiary of Cognizant. During the multi-year investigation into

 the charges in this case, L&T and its outside counsel, Debevoise & Plimpton LLP (“Debevoise”),

 provided to the Government tens of thousands of L&T documents, oral and written summaries of

 findings from the extensive internal investigation they conducted, and access to key L&T

 witnesses from India—all voluntarily, but pursuant to targeted, repeated requests from the

 Government. L&T’s findings, like its employees’ testimony when later interviewed by the

 Government, do not, however, align with the Government’s theory of prosecution. Indeed, in

 2019—after the Indictment in this matter was unsealed—L&T made a series of public statements

 to the National Stock Exchange of India unequivocally denying any involvement in making,

 facilitating, or even knowing about the alleged bribe that is the centerpiece of the Government’s

 case.

                   L&T’s denials, of course, are powerfully exculpatory as to the defendants here. If

 L&T—following extensive investigative efforts led by well-respected U.S. and Indian law firms

 and then reviewed by external experts—uncovered no evidence of the alleged improper payments,

 it is significantly less likely that a bribe was paid and therefore less likely that the conspiracy of

 which defendants are accused existed. L&T’s statements to the National Stock Exchange of

 India—which defendants acknowledge are hearsay not subject to the exceptions in Federal Rules

 of Evidence 803 or 804—must therefore in fairness be admitted pursuant to Federal Rule of

 Evidence 807 so that they can be presented to and considered by the jury at defendants’ upcoming

 criminal trial.



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                                     RELEVANT BACKGROUND

        A.      L&T’s Investigation and Voluntary Cooperation with the Government

                On October 5, 2016, the Government issued a preservation request to L&T

 Infotech—a majority-owned subsidiary of L&T located in Edison, New Jersey—in its

 investigation underlying this case. Ex. 24, LT00005782 at 5797. By the end of October 2016,

 L&T had retained both U.S. and Indian outside counsel and advised the Government that it would

 voluntarily comply with the document preservation request. Id. On February 23, 2017, L&T

 further informed the Government that it would voluntarily undertake an internal investigation into

 the alleged conduct at issue. Id.

                During the course of its internal investigation, L&T obtained and analyzed

 extensive documentation concerning several Cognizant construction projects in India, including

 the KITS facility project at issue in this case. After receiving the Government’s preservation

 request, L&T sent preservation notices to at least 69 custodians, imaged 29 hard drives, and

 restored 88 back-up tapes for 12 key custodians. Id. at 5798. L&T collected and uploaded for

 searching and review a total of 485.3 gigabytes of mail and user files—more than 1.2 million total

 documents—after filtering for Cognizant or “CTS” references within the 1997 to 2016 date range.

 Id. It further undertook a full forensic accounting. Id. at 5799, 5802. By June 22, 2017, L&T

 completed the first, id. at 5797, of at least nine document productions to the Government.

                On July 27, 2017, Debevoise, on behalf of L&T, presented to the Government an

 “Interim Update” on the progress of the company’s internal investigation. Id. at 5782. At the time

 of that interim presentation, L&T had identified at least 104,278 documents for review and had

 conducted interviews of 32 individuals and consultants. Id. at 5802. In addition to detailing L&T’s

 document collection efforts, the interim presentation outlined L&T’s initial analysis and

 conclusions regarding construction permitting approvals, variation claims that account for changes


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 to building design or work outside the initial scope of construction, and the use of consultants for

 statutory approvals on projects. Id. at 5801. The construction of Cognizant’s KITS facility was

 deemed a “priority project.” Id. at 5800.

                In the nine months following Debevoise’s July 2017 presentation to the

 Government, L&T continued to provide the Government with additional details of its investigative

 findings. For example, L&T annotated its interim presentation to include notes and citations for

 the factual basis of certain conclusions, Ex. 25, DOJ-LT-LTR-00000021 at 21, and it answered the

 Government’s written follow-up questions regarding its presentation, Ex. 26, DOJ-LT-LTR-

 00000023. L&T also shared with the Government the search terms it used to collect documents

 for its internal review. Ex. 27, DOJ-LT-LTR-00000055. L&T suggested that the Government

 interview three key L&T employees, Ex. 28, DOJ-LT-LTR-00000030 at 31, and the Government

 ultimately interviewed those three employees (as well as one other employee), Exs. 29–31, DOJ-

 302-00000144 at 149 (S.N. Subrahmanyan), DOJ-302-00000152 at 157 (Balaji Subramanian),

 DOJ-302-00000192 at 198 (Ramesh Vadivelu). L&T also responded to additional inquiries from

 the Government, including by creating a chart detailing all of the statutory approvals obtained from

 Indian authorities for three Cognizant construction projects in India, including the KITS project.

 Exs. 32–33, DOJ-LT-LTR-00000039 at 40, DOJ-LT-LTR-00000042.

                The Government, for its part, actively engaged with Debevoise during this period

 of extensive cooperation, as revealed by DOJ paralegal notes of calls and meetings with L&T and

 Cognizant that the Government provided to the defense in advance of the April 18–19 evidentiary

 hearing. At various points, the Government requested that L&T and Debevoise focus (and in some

 cases expand) their investigative efforts on specific topics that ultimately formed the basis for the

 Indictment. For example, during a call with the Government on October 5, 2017, Debevoise




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 reported that it had added 385,000 records to its review (beyond the 105,000 reviewed as of July

 2017) in response to the Government having “encourag[ed]” Debevoise “to continue looking at

 the KITS project,” particularly communications between March and June 2014. Ex. 35, DOJ-EH-

 0000000095 at 95. Debevoise also advised that it had manually reviewed all emails from six

 specific custodians without applying any search terms beyond “Cognizant” and “CTS”—thus

 making “sure to capture every document that referred to [C]ognizant.”        Ex. 36, DOJ-EH-

 0000000142 at 142. And Debevoise told the Government that they were “using every tool that

 [L&T and its counsel] can think of to find additional information”; in response, the Government

 agreed that “[c]learly [L&T and Debevoise were] taking a comprehensive look.” Ex. 35, DOJ-

 EH-0000000095 at 96; see also Ex. 36, DOJ-EH-0000000142.

               During a subsequent call with the Government on December 7, 2017, Debevoise

 advised that, despite extensive efforts undertaken in response to the Government’s requests to

 “look harder at March to June 2014, looking for a possible payment on the KITS project” and

 focus “on earlier 2014 and late 2013 months to find a demand for a payment from an official,”

 Debevoise’s and L&T’s “review did not yield new findings.” Ex. 36, DOJ-EH-0000000142 at

 142. More specifically, their “brute force review”—which “reach[ed] beyond the obvious places”

 and was conducted by 18 reviewers who analyzed approximately 350,000 documents—did not

 uncover any “correspondence from late 2013 or early 2014 regarding payments” and revealed

 “nothing from [March through June] 2014 relating to payments or the claim process [Debevoise

 and the Government] discussed” previously.       Id. at 142–144.    The Government noted its

 “appreciat[ion of] the scope and nature of what [L&T and Debevoise] accomplished,” but

 expressed “surprise[] given the effort and scope” that L&T and its counsel had not found the

 corroborating evidence that the Government sought. Id. at 143. The Government thus proposed




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 “steer[ing] [L&T and Debevoise] in certain directions in a bit more targeted fashion.” Id. Those

 efforts, like the Government’s prior attempts, did not result in L&T or Debevoise uncovering any

 evidence of the alleged bribe at the center of the Government’s case.11

         B.      L&T’s Public Statements Directly Contradict the Government’s Core Theory
                 in this Case

                 The Indictment in this matter was issued on February 14, 2019. It alleges that L&T,

 referred to throughout the Indictment as the “Construction Company,” received a bribe demand

 from an unidentified Indian government official; conveyed that bribe demand to Cognizant; hired

 a third-party consultant to make the alleged bribe payment; and demanded reimbursement for that

 payment through falsified change orders. ECF No. 1 ¶¶ 1(e), 4–8, 11–14, 23–26. The day after

 the Indictment was issued, the Government announced in a press release that it would not prosecute

 Cognizant for its involvement in the alleged bribe; this announcement was issued alongside the

 SEC’s press release regarding its settlement with Cognizant. Ex. 37, Press Release 19-127,

 Department of Justice, Former President and Former Chief Legal Officer of Publicly Traded

 Fortune 200 Technology Services Company Indicted in Connection with Alleged Multi-Million

 Dollar Foreign Bribery Scheme at 2 (Feb. 15, 2019); Ex. 38, Press Release 2019-12, Securities

 and Exchange Commission, SEC Charges Cognizant and Two Former Executives with FCPA

 Violations (Feb. 15, 2019).

                 Days after the Indictment was unsealed, L&T initiated a series of public statements

 denying in unequivocal terms any involvement in the improper payments alleged in the Indictment


 11   In response to the Government’s question regarding a change order request from L&T to
      Cognizant for “statutory approvals,” Debevoise reported that they had been told that “this was
      an effort to claim additional money because of delays to the project” and that L&T “chose the
      statutory approvals as the section because they knew [Cognizant] would not pay a delay claim.”
      Id. In other words, L&T’s investigation produced evidence that directly rebutted the
      Government’s theory of the case in a manner that, as discussed below, is corroborative of
      L&T’s statements to the National Stock Exchange of India.


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 and in Cognizant’s settlement with the SEC. L&T’s first known public statement about this matter

 came in a February 18, 2019 letter it sent to the National Stock Exchange of India, on which shares

 of L&T are publicly traded. L&T, through its Company Secretary, N. Hariharan, stated:

         We wish to clarify that Cognizant Technology Solutions (“CTS”), a longtime
         customer of Larsen & Toubro, ha[s] reached a settlement with the U.S. Department
         of Justice . . . and the U.S. Securities and Exchange Commission . . . in which it . . .
         acknowledged violations of the U.S. Foreign Corrupt Practices Act (“FCPA”) in
         connection with certain construction projects in India. This settlement appears to
         arise from an internal investigation by CTS that it first announced on September
         30, 2016.

         While we cannot comment on Cognizant’s decision to enter into these settlements,
         we are not aware of any evidence that supports our involvement in making the
         alleged improper payments. We confirm that neither we nor any of our employees
         are a party to the proceedings brought in the United States.

 Ex. 39, Feb. 18, 2019 Letter from N. Hariharan to National Stock Exchange of India Limited

 (emphasis added).

                On February 28, 2019, L&T further informed the National Stock Exchange of India

 that:

         During [L&T’s] Audit Committee meeting held on 27th February 2019, the
         management presented all details of the Company’s construction contracts with
         CTS, including particulars of development relating to the recent settlement between
         CTS and SEC and the ongoing proceedings before Department of Justice, USA
         (DOJ)[.]

         In this connection, the Company also briefed the Audit Committee of the
         management-initiated investigation conducted by leading law firms in USA and
         India with the help of forensic experts from Hong Kong in 2017.

         While noting that there was no evidence of the involvement of the Company or any
         of its executives as alleged based on information provided, the Audit Committee
         decided to seek assistance of an external expert to review the details of
         investigations conducted on behalf of the Company in 2017, based on which it will
         decide the future course of action.

 Ex. 40, Feb. 28, 2019 Letter from N. Hariharan to National Stock Exchange of India Limited.




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                 L&T’s denial of involvement in or evidence of the alleged bribe was widely

 reported in the press. A March 2, 2019 newspaper article in the Business Standard12 stated:

         It was alleged that the amount of the bribe, which is said to be about $3.64 million,
         was paid through L&T, according to several sources in the know. However, L&T
         denied the allegation and said the company was not aware of any evidence that
         supported its involvement in making the “improper” payments.

 Ex. 41, T. E. Narasimhan, “L&T to Seek External Help on Cognizant Bribery Case,” Business

 Standard, Mar. 2, 2019 (emphasis added).

                 In a March 28, 2019 interview with The Economic Times, L&T’s CEO,

 Sekharipuram Narayanan Subrahmanyan, denied that L&T had any role in the alleged improper

 payments. Ex. 34, Rachita Prasad & Jochelle Mendonca, “L&T ‘Unfairly Doubted’ for Alleged

 Role in Cognizant Bribery Case: Subrahmanyan,” Economic Times, Mar. 28, 2019 (“Cognizant

 paid a $25-million fine and blamed somebody. Department of Justice (US) lets them go. Now,

 how am I to defend myself? Is there a letter to me accusing me of these things[?]”). And on

 October 24, 2019, L&T submitted a supplemental letter to the National Stock Exchange of India

 stating that the external experts it had engaged to review L&T’s investigatory findings had

 concluded their work. Ex. 42, Oct. 24, 2019 Letter from N. Hariharan to National Stock Exchange

 of India. In particular, L&T informed the National Stock Exchange of India that:

         As directed by the Audit Committee, external experts were appointed to review the
         details of an earlier investigation conducted on behalf of the Company. The report
         of the external experts was received and discussed in the Audit Committee meetings
         held on August 21, 2019 and October 22, 2019. The Audit Committee has
         concluded that there was no sufficient evidence to support the allegations of the
         Company’s involvement in making alleged improper payments at the direction of
         Cognizant Technology Solutions.


 12   Business Standard is one of the most widely circulated English-language newspapers in India.
      See “The Economic Times Continues to Grow, Daily Readership Crosses 1.1 million,”
      Economic Times, May 13, 2020 (https://economictimes.indiatimes.com/industry/media/
      entertainment/media/et-continues-to-grow-daily-readership-crosses-1-1-m/articleshow/75705
      627.cms).

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 Id. L&T’s three statements to the National Stock Exchange of India form the basis for this motion.

                                             ARGUMENT

                 Federal Rule of Evidence 807(a), the “residual” hearsay exception, provides:

         Under the following conditions, a hearsay statement is not excluded by the rule
         against hearsay even if the statement is not admissible under a hearsay exception in
         Rule 803 or 804: (1) the statement is supported by sufficient guarantees of
         trustworthiness—after considering the totality of circumstances under which it was
         made and evidence, if any, corroborating the statement; and (2) it is more probative
         on the point for which it is offered than any other evidence that the proponent can
         obtain through reasonable efforts.

 Fed. R. Evid. 807(a).13 This exception “was designed to encourage the progressive growth and

 development of federal evidentiary law by giving courts the flexibility to deal with new evidentiary

 situations which may not be pigeon-holed elsewhere.” United States v. Slatten, 865 F.3d 767, 806

 (D.C. Cir. 2017) (citation omitted). “The determination of whether a document is sufficiently

 trustworthy to be admitted under Rule 807 is a highly fact-specific inquiry.” Turner, 718 F.3d at

 233.

                 Notably, Rule 807 was amended in 2019 “to fix a number of problems that the

 courts” were encountering in its application. See Fed. R. Evid. 807 advisory committee note to

 2019 amendments. Under the amended rule, a court “should proceed directly to a determination

 of whether the hearsay is supported by guarantees of trustworthiness.” Id. “The amendment

 specifically requires the court to consider corroborating evidence in the trustworthiness enquiry.”

 Id. Additionally, the amended “rule provides that the focus for trustworthiness is on circumstantial

 guarantees surrounding the making of the statement itself, as well as any independent evidence


 13   Rule 807(b) requires that the statement’s proponent “give[] an adverse party reasonable notice
      of the intent to offer the statement—including its substance and the declarant’s name—so that
      the party has a fair opportunity to meet it. The notice must be provided in writing before the
      trial . . . .” Defendants listed L&T’s three statements to the Indian stock exchange on their July
      24, 2023 preliminary exhibit lists and give notice of their intent to offer the statements by way
      of this motion.

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 corroborating the statement.” Id.14 The residual hearsay exception thus “should be read to exclude

 unreliable hearsay but to admit reliable hearsay . . . . Such ‘reliable hearsay’ has, of course, the

 effect of promoting the truth-seeking function of a criminal trial and, therefore, ought to be

 presented to the finders of facts.” United States v. Carneglia, 256 F.R.D. 384, 392 (E.D.N.Y.

 2009) (cleaned up).

                 As set forth below, L&T’s statements to the National Stock Exchange of India are

 both supported by sufficient guarantees of trustworthiness and more probative on the point for

 which they are offered than any other evidence defendants can obtain through reasonable efforts.

 Accordingly, they should be admitted under Rule 807.

         C.      L&T’s Statements Are Supported by Sufficient Guaranties of Trustworthiness

                 1.     The Circumstances Under Which L&T’s Statements to the National
                        Stock Exchange of India Were Made Support Their Trustworthiness

                 The totality of the circumstances surrounding L&T’s public denials of involvement

 in the alleged bribe payment at the heart of the Government’s case support their reliability. To

 begin, the fact that the statements were made to the National Stock Exchange of India—a regulated

 body of which L&T is a member—is itself indicative of their trustworthiness. The Securities and

 Exchange Board of India has promulgated regulations that bear similarities to U.S. securities laws

 and prohibit, among other things, multiple categories of securities fraud, including “knowing

 misrepresentation[s] of the truth or concealment of material fact,” “representation[s] made in a

 reckless and careless manner whether [they] be true or false,” and “act[s] of an issuer of securities

 giving out misinformation that affects the market price of a security, resulting in investors being

 effectively misled even though they did not rely on the statement itself or anything derived from


 14   The 2019 Amendments “leave some doubt . . . as to whether the residual hearsay exception
      remains ‘extremely narrow,’” as some courts had previously interpreted it to be. United States
      v. Smith, 2020 WL 5995100, at *5 (D.D.C. Oct. 9, 2020).

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 it other than the market price.” See Prohibition of Fraudulent and Unfair Trade Practices Relating

 to Securities Market at 2(c)(1, 5, 9), 3 (July 17, 2003, last amended January 25, 2022). And India’s

 Companies Act of 2013 permits securities fraud class actions for injunctive and declaratory relief

 against corporations, as well as compensatory damages from the company, its directors, and its

 auditors. Companies Act, No. 18 of 2013, INDIA CODE, § 245(1), (7). India’s securities fraud

 scheme has thus been described as “one of the most robust private enforcement regimes for

 securities fraud violations in the world.” Fitzpatrick & Thomas, The Indian Securities Fraud Class

 Action: Is Class Arbitration the Answer?, 40 Nw. J. Int’l L. & Bus. 203, 205 (2020).

                  Significantly, courts routinely admit similar public statements and filings when

 made to the SEC as sufficiently trustworthy under Rule 807. See, e.g., Hal Roach Studios, Inc. v.

 Richard Feiner and Co., Inc., 896 F.2d 1542, 1551–52 (9th Cir. 1989) (admitting securities

 registration statement under Rule 807); SEC v. Espuelas, 908 F. Supp. 2d 402, 410 n.6 (S.D.N.Y.

 2012) (restatement of revenues filed with SEC admissible under predecessor to Rule 807); SEC v.

 Pattison, 2011 WL 2313267, at *13 (N.D. Ca. June 9, 2011) (revision of company’s securities

 filings admissible under Rule 807); In re Worldcom, Inc., 357 B.R. 223, 229 (Bankr. S.D.N.Y.

 2006) (balance sheet filed with SEC admissible under Rule 807 given that “intense public scrutiny

 involved in the restatement of [the company’s] financial[s] adequately ensured that the results were

 trustworthy”).    L&T’s statements to the analogous Indian authorities should be treated no

 differently, especially considering the public scrutiny L&T was under after Cognizant’s resolution.

                  Moreover, that L&T’s statements to the National Stock Exchange of India, made

 three separate times over the course of nine months, are consistent with each other further supports

 their reliability. Indeed, courts place significant weight on the consistency of the declarant’s

 narrative when evaluating trustworthiness under Rule 807. See, e.g., Slatten, 865 F.3d at 808




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 (“Consistency supports the reliability of [the] multiple statements and, consequently, [their]

 veracity.”); United States v. Harrison, 296 F.3d 994, 1005 (10th Cir. 2002) (noting that under Rule

 807, “the consistency of the declarant’s statements” is “a factor that we find particularly

 persuasive”); cf. United States v. Turner, 718 F.3d 226, 233 (3d Cir. 2013) (relying on bank

 records’ internal consistency in admitting them under Rule 807).15 In this case, L&T’s narrative

 has also remained consistent in filings with this Court. On July 6, 2021, in its brief in opposition

 to defendants’ motion to compel L&T’s compliance with Rule 17 subpoenas, L&T reaffirmed its

 prior denials of wrongdoing to the National Stock Exchange of India and specifically noted that

 “the consistent basis” for “L&T Ltd.’s public denials in India of wrongdoing” was that “L&T Ltd.

 found no evidence of bribery.” ECF No. 188-1 at 3 (emphasis in original); see also id. at 9–10

 (reiterating L&T’s three statements to the National Stock Exchange of India and stating that

 “[e]ach of these statements is premised solely on the absence of evidence of a purported bribe”

 (emphasis in original)); id. at 25 (“L&T Ltd.’s statements to Indian exchanges . . . are premised on

 the absence of evidence.” (emphasis in original)).16

                 Finally, as is discussed further below, the extensive investigatory efforts underlying

 L&T’s public statements to the National Stock Exchange of India—efforts that the Government

 itself lauded and helped steer, see supra at Section III.A—provide further guarantees of



 15   L&T’s statements to the National Stock Exchange of India were signed by L&T’s Executive
      Vice President and Company Secretary. The fact that the statements were signed by a specific
      individual also weighs in favor of trustworthiness. See generally United States v. Chu Kong
      Yin, 935 F.2d 990, 1000 (9th Cir. 1991) (finding Hong Kong police records not admissible
      because there was no evidence the records were prepared by persons with first-hand knowledge
      of the relevant convictions and because the Government did not make the names and addresses
      of the declarants available to the defendant before trial).
 16   Counsel’s language is legally significant: the “absence of evidence” may alone create the
      reasonable doubt that can underlie an acquittal. See Third Circuit Model Criminal Jury
      Instruction 3.06, (reasonable doubt “may arise from the evidence, or from the lack of evidence,
      or from the nature of the evidence”) (emphasis added).

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 trustworthiness. See, e.g., MSC Mediterranean Shipping Co. SA, Geneva v. Metal Worldwide,

 Inc., 884 F. Supp. 2d 1277, 1282 (S.D. Fla. 2012) (reports from Indian Customs Department

 detailing its investigation into contents of shipping containers and containing witness statements

 admissible under Rule 807 because witnesses understood they were taking part in a serious,

 official, and formal investigation, and the reports were more probative than any other evidence

 that could be obtained through reasonable efforts); In re September 11 Litigation, 621 F. Supp. 2d

 131, 163 (S.D.N.Y. 2009) (finding prior testimony under oath from “a highly-scrutinized, public

 proceeding” of FBI agents about their observations in carrying out investigations regarding airport

 and airplane security potentially admissible under Rule 807); United States v. Musaibli, -- F. Supp.

 3d --, 2022 WL 17832696, at *6 (E.D. Mich. 2022) (admitting FBI 302 containing statements of

 interviewees under Rule 807 because the statements had circumstantial guarantees of

 trustworthiness); Quinn v. Wexford Health Sources, Inc., 2020 WL 888048, at *2 (S.D. Ill. Feb.

 24, 2020) (admitting prison officials’ investigation report because it was compiled

 contemporaneously with the facts at issue and was signed by the investigator).

                2.      L&T’s Statements Are Corroborated by a Multi-Year Investigation
                        Led by Reputable Law Firms and External Experts, Influenced by the
                        Government, and Validated by the Government’s Own Admissions in
                        this Case

                L&T’s public denials of wrongdoing to the National Stock Exchange of India are

 also corroborated by an abundance of evidence—from L&T’s underlying investigation and its

 employees’ testimony during Government interviews to the Government’s own admissions in this

 case. First, L&T’s statements to the National Stock Exchange of India were expressly premised

 on the company’s years-long internal investigation that preceded them, led by prominent U.S. and

 Indian outside counsel and forensic experts. The scope and depth of that investigation in and of

 itself provides sufficient guarantees of trustworthiness. See supra at Section III.A.



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                 L&T’s investigative efforts also occurred in connection with, and were shaped by,

 the Government. Indeed, during the course of the company’s extensive cooperation with the

 Government, L&T and Debevoise acceded to the Government’s requests to “look harder” for

 evidence of a bribe payment in connection with the KITS facility, ultimately reviewing hundreds

 of thousands of additional documents and fielding numerous, targeted follow-up requests and

 questions from the Government. See Ex. 36, DOJ-EH-0000000142 at 142–43; Ex. 26, DOJ-LT-

 LTR-00000023; Ex. 24, LT00005782 at 5802. The outcome of those efforts were the same—L&T

 and Debevoise again uncovered no evidence of the alleged improper payments—and Debevoise

 communicated this to the Government on multiple occasions.             See Exs. 35–36, DOJ-EH-

 0000000095, DOJ-EH-0000000142.

                 Second, L&T’s public denials of wrongdoing are also consistent with the

 statements of L&T’s own employees in interviews with the Government.17 L&T’s witnesses

 consistently denied knowledge of or participation in the improper payments alleged in the

 Indictment. Exs. 29–31, DOJ-302-00000144 at 149 (L&T’s CEO, S.N. Subrahmanyan “did not

 hear of a demand from the government” about the relevant planning permit and “did not have any

 internal conversations at L&T about a demand payment to the government”), DOJ-302-00000152

 at 157 (Balaji Subramanian stated that L&T “assisted with the planning permit by submitting

 documents promptly; however, there was nothing else that L&T could have done”), DOJ-302-

 00000192 at 198 (Ramesh Vadivelu stated that “[t]here was nothing that L&T could do to expedite

 the planning permit”). And they also directly contradicted the Government’s theory that a

 “statutory approvals” line item in an L&T change order request for the KITS project was actually




 17   The admissibility of these statements is the subject of a separate motion in limine filed by Mr.
      Coburn, which Mr. Schwartz hereby joins.


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 a reimbursement for the alleged bribe. ECF No. 1 ¶ 23. According to the L&T employees

 interviewed by the Government, that line item had nothing to do with any improper payment to a

 Government official, but instead reflected a charge for indirect costs resulting from L&T’s

 extended stay at the KITS site due to delays associated with obtaining the planning permit. Exs.

 30–31, DOJ-302-00000152 at 157 (Balaji Subramanian stated that L&T sought reimbursement

 from Cognizant due to delay expenses), DOJ-302-00000192 at 200–01 (Vadivelu stated that the

 “statutory approval” line item that the Government alleges was the means by which Cognizant

 reimbursed L&T for the alleged bribe was not, in fact, for statutory approvals, but for expenses

 caused by the extended delay, which L&T knew Cognizant would not reimburse if labeled as

 “extended stay expenses”). Debevoise advised the Government that the L&T personnel with

 whom they spoke likewise told them the “statutory approvals” line item “was an effort to claim

 additional money because of delays to the project” and that L&T “chose the statutory approvals as

 the section because they knew [Cognizant] would not pay a delay claim.” Ex. 36, DOJ-EH-

 0000000142 at 143.

                Moreover, the Government’s own admissions during this case, both in briefing and

 to the Court, corroborate L&T’s statements regarding the absence of evidence regarding the details

 of the purported bribe. See infra at Section IV. Thus, in its opposition to defendants’ motion for

 a bill of particulars, the Government acknowledged that it does not know who made the alleged

 illegal payment to an Indian government official, does not know the identity of the Indian

 government official who received the alleged illegal payment, and does not know the details of the

 alleged illegal payment, to the extent a payment was made at all. See id.; ECF No. 61 at 13, 51–

 53. These representations, which the Government has never sought to supplement or correct, are




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 thus additional, highly corroborative evidence that L&T’s statements to the National Stock

 Exchange of India are sufficiently trustworthy to be admitted under Rule 807.

         D.      L&T’s Public Statements Are More Probative on the Point for Which They
                 Are Offered than Any Other Evidence Defendants Can Obtain Through
                 Reasonable Efforts

                 L&T’s consistent, public denials of wrongdoing in its statements to the National

 Stock Exchange of India—premised on the absence of evidence of a bribe—directly contradict the

 Government’s theory of prosecution in this case. That is, the Government alleges that L&T

 received a bribe demand from an Indian government official to secure a planning permit for the

 KITS facility; conveyed that bribe demand to Cognizant, which authorized it; hired a third-party

 consultant to make the alleged bribe payment; and then demanded and received reimbursement for

 the bribe through falsified change orders approved by Cognizant. ECF No. 1 ¶¶ 1(e), 4–8, 11–13,

 24–26. Thus, if L&T—following an extensive, multi-year investigation conducted by leading

 outside law firms, forensic experts, and consultants—uncovered no evidence of the improper

 payments that it is alleged to have facilitated, paid for, and recouped from Cognizant, it is

 significantly less likely that a bribe was paid and therefore less likely that the conspiracy of which

 defendants are accused existed at all. L&T’s public statements to the National Stock Exchange of

 India are therefore highly exculpatory, probative evidence that bear upon the core allegations in

 this case. 18

                 Recognizing this fact, defendants have made repeated, extensive, but unsuccessful

 efforts to obtain this evidence in ways other than L&T’s statements. These efforts have included:




 18   Defendants recognize that the actual payment of a bribe is not an element of the offenses with
      which they are charged. But whether or not a bribe was in fact paid is highly relevant to the
      charged offenses—particularly where, as here, the Government has affirmatively alleged that
      a bribe was paid and then reimbursed.

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             Rule 17 Subpoenas: Defendants first filed applications for Rule 17 subpoenas to
              L&T in February 2020. The Court approved narrowed versions of those subpoenas
              and, in October 2020, the Clerk of the Court signed two Rule 17 subpoenas to L&T
              (one from Mr. Schwartz, and another from Mr. Coburn, respectively), returnable
              later that same month. Counsel for L&T and its subsidiaries refused to accept
              service of or comply with the subpoenas. On March 18, 2021, defendants then
              submitted a supplemental application to the Court for a Rule 17 subpoena to L&T,
              this time focused on materials relevant to the upcoming trial. ECF No. 143. On
              April 5, 2021, the Court approved that subpoena and consolidated it with the earlier
              subpoenas, “authoriz[ing] issuance of the subpoenas in their proposed form.” ECF
              No. 144 at 2. But when defendants attempted to serve the subpoenas on L&T and
              its subsidiaries, L&T and its counsel again refused to accept service.

             Motion to Compel: Because the L&T entities refused to accept service of or comply
              with the Rule 17 subpoenas, defendants moved to compel L&T’s compliance, and
              L&T cross-moved to quash. ECF Nos. 167, 188. The Court held that L&T was
              not subject to personal jurisdiction in New Jersey and thus denied defendants’
              motion to compel and granted L&T’s cross-motion to quash. ECF Nos. 264, 268.

             U.S.—India MLAT: On December 15, 2020, in an effort to avoid judicial
              intervention, defendants sought the Government’s help in obtaining the subpoenaed
              records from L&T, either through a direct request or through the Mutual Legal
              Assistance Treaty (“MLAT”) process. Ex. 43, Letter from N. Lewin to N. Grippo
              et al. (Dec. 15, 2020) at 2. At a status conference on January 6, 2021, the Court
              directed the Government to explain whether it intended to assist the defense in
              obtaining materials from L&T, and the Government responded as follows: “If
              defense counsel files an application, I don’t envision us getting in the way or
              objecting, but this is really not our issue. . . . We are certainly not going to pursue
              an MLAT to India or take other steps to assist the defense in this regard. With that
              said, if they file an application, we are not going to get in the way but this does not
              seem to be a fight that the government should or will jump into.” Ex. 44, ECF No.
              137, Jan. 6, 2021 Status Conf. Tr. at 41:13–24.

             Motions for Issuance of Letters Rogatory and Rule 15 Depositions: Defendants thus
              moved on June 15, 2021 for issuance of a letter rogatory to effectuate the subpoenas
              directed to L&T and on August 11, 2022 for issuance of a letter rogatory to depose
              seven material and otherwise unavailable defense witnesses in India. ECF Nos.
              168, 396. On December 2, 2022, the Court granted defendants’ motion and the
              Letter Rogatory was promptly issued and transmitted to India. Unfortunately, and
              despite defendants’ best efforts to move the progress forward as expeditiously as
              possible, India still has yet to act on the Letter Rogatory. Given the length of time
              it typically takes for execution of letters rogatory—according to the State




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                Department’s website, “a year or more”—defendants fear that the October 2, 2023
                trial date will arrive long before India has acted.

                In short, defendants have exhausted every avenue available to them to obtain

 alternative, non-hearsay evidence from L&T—Rule 17 subpoenas, Rule 15 depositions, letters

 rogatory, and invocation of the U.S.-India MLAT—but have been stymied at every turn. Thus,

 L&T’s statements to the National Stock Exchange of India are, as the Rule requires, see Fed. R.

 Evid. 807(a)(2), the most probative evidence available to defendants through “reasonable efforts”

 for the point for which they are offered: L&T’s conclusion, following an extensive investigation,

 that there was no evidence of the bribe alleged in the Indictment.19 Courts routinely admit

 evidence under Rule 807 where, as here, the declarant lies beyond the reach of U.S. jurisdiction

 and the party seeking admission of that evidence has expended every alternative avenue. See, e.g.,

 United States v. Loalza-Vasquez, 735 F.2d 153, 157–58 (5th Cir. 1984) (teletype message

 concerning authorization by Panamanian government for boarding of Panamanian shrimp boat was

 admissible because the Panamanian official who gave the requisite permission was not subject to

 subpoena power and thus there was no non-hearsay alternative probative on the issue); Noble v.

 Al. Dept. of Env. Mgmt., 872 F.2d 361, 366 (11th Cir. 1989) (residual hearsay exception applies

 when evidence is “unreasonably difficult to get from a declarant”); United States v. Prevezon

 Holdings, Ltd., 319 F.R.D. 459, 465–67 (S.D.N.Y. 2017) (Russian bank records admissible

 because Russian government spurned the United States’ request for any relevant alternative

 evidence); Escriba v. Foster Poultry Farms, 793 F. Supp. 2d 1147, 1157 (E.D. Ca. 2011)

 (Guatemalan doctor’s notes admissible because they were more probative than any other evidence




 19   L&T’s public statements to the National Stock Exchange of India are self-authenticating
      pursuant to Rule 902 and/or can otherwise be appropriately authenticated at trial through
      evidence sufficient to support a finding that the statements are what they purport to be.

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 that the proponent can procure through reasonable efforts—i.e., depositions in Guatemala, special

 questions by deposition upon written interrogatories, letters rogatory, requests for international

 judicial assistance). This requirement of the Rule is therefore satisfied.

        E.      Admitting the Statements Wil Serve the Interests of Justice and Promote the
                Truth-Seeking Function of the Trial

                Although the requirement that a statement admitted under Rule 807 must serve “the

 general purposes of these rules and the interests of justice” was deleted by the 2019 Amendments,

 those considerations are still relevant to the analysis, as Rule 102 requires that all Rules of

 Evidence “be construed so as to administer every proceeding fairly, eliminate unjustifiable expense

 and delay, and promote the development of evidence law, to the end of ascertaining the truth and

 securing a just determination.” Fed. R. Evid. 102; see Fed. R. Evid. 807 advisory committee note

 to 2019 amendments (“The requirements that residual hearsay must be evidence of a material fact

 and that its admission will best serve the purposes of these rules and the interests of justice have

 been deleted. These requirements have proved to be superfluous in that they are already found in

 other rules. See Rules 102, 401.”).

                To that end, admitting L&T’s statements to the National Stock Exchange of India

 is essential to “ensure fundamental fairness in the administration of justice.” Wezorek v. Allstate

 Ins. Co., 2007 WL 1816293, at *5 (E.D. Pa. June 22, 2007). Having previously acknowledged

 that it does not know the identity of the Indian official who sought the alleged bribe, the identity

 of the intermediary who allegedly made the improper payment, or the details surrounding the

 alleged bribe payment itself, the Government has nevertheless chosen to credit and rely upon the

 results of Cognizant’s internal investigation, which supports the Government’s theory of




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 prosecution that a bribe was paid and then reimbursed,20 while ignoring the results of L&T’s

 investigation, which directly contradict that theory. Thus, if L&T’s statements to the National

 Stock Exchange of India denying any involvement in or evidence regarding the alleged bribe are

 not presented to the jury, the Government will “have the unfettered ability to present [its] one-

 sided version of events.” Id. But if they are, the defense will be able “to present its version of the

 transaction, which ultimately aids the fact-finder in determining the truth.” Id. The Court should

 therefore permit defendants to introduce L&T’s statements pursuant to Rule 807 in the interests of

 justice and in furtherance of the truth-seeking function of criminal trials.




 20   This was so despite knowing that Cognizant had an “agenda” and was providing a self-serving
      “version of events.” Ex. 21, ECF No. 473, Apr. 18, 2023 Hr’g Tr. at 112:13–17 (Gingras).


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 IV.    THE GOVERNMENT’S ADMISSION THAT NEITHER THE DEFENDANTS,
        THEIR CO-CONSPIRATORS, NOR THE GOVERNMENT ITSELF KNOWS KEY
        DETAILS OF THE BRIBE CONSPIRACY SHOULD BE ADMITTED AS A
        PARTY-OPPONENT ADMISSION

                                  RELEVANT BACKGROUND

        A.      The Government’s Admissions

                The Indictment alleges that, in 2014, defendants authorized L&T to pay a bribe to

 an Indian government official on Cognizant’s behalf in order to obtain a planning permit that was

 required for the construction of the KITS campus in Chennai, India. Specifically, the Indictment

 alleges that issuance of the planning permit was delayed, ECF No. 1 ¶¶ 9–10, and that the

 defendants authorized payment of a bribe to secure the permit, id. ¶¶ 11–13.

                The discovery produced by the Government, however, is virtually devoid of details

 regarding the payment of the alleged bribe. For this reason, on November 15, 2019, Mr. Schwartz

 moved for a bill of particulars, requesting, among other things, that the Government disclose the

 name of the Indian government official or officials who demanded the bribe, the name of the

 consultant or consultants who served as intermediaries for the payment of the bribe, and the details

 of the bribe payment. ECF No. 57-1 at 24, 27–30.

                In its brief opposing issuance of a bill of particulars, the Government responded

 with a categorical admission that the defendants and their alleged co-conspirators did not know

 any of these key details and a further admission that the Government itself had been unable to

 ascertain this information: “[N]either the Defendants, nor CC#1 and CC#2, knew the identity of

 the government official[s] who sought the bribe, the individuals who served as the intermediary

 and paid it, or the details of the bribe payments. Likewise, to date, the Government’s investigation




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 has not uncovered this information.” ECF No. 61 at 13 (second alteration in original). Defendants

 seek to admit this statement as a party-opponent admission pursuant to Rule 801(d)(2)(A)–(D).21

                                             ARGUMENT

         B.      The Government’s Admissions Are Relevant

                 As explained above, see supra Section I.A.1., evidence is relevant if “it has any

 tendency to make a fact more or less probable than it would be without the evidence” and “the fact

 is of consequence in determining the action.” Fed. R. Evid. 401.

                 The Government’s admission that neither the defendants nor their alleged co-

 conspirators knew “the identity of the government official[s] who sought the bribe, the individuals

 who served as the intermediary and paid it, or the details of the bribe payments” is clearly relevant.

 Indeed, that the defendants and their alleged co-conspirators, as the Government has admitted, did

 not know basic details of the alleged bribery conspiracy makes it less probable that they actually

 entered into that conspiracy and authorized the alleged bribe. This is true for at least two reasons.

 First, in the context of the Government’s allegations, the fact that the conspirators did not know

 key details of the bribe payment makes it less likely that they would have authorized it. After all,

 if neither the defendants nor their alleged co-conspirators knew these details, there would have



 21   It is worth noting that this was not a stray or casual admission by the Government, which made
      multiple similar admissions in its opposition to the defendants’ motions for a bill of particulars.
      E.g., ECF No. 61 at 48 (“The Indictment does not allege that the Defendants knew the identity
      of the foreign government officials, the third-party consultant, any other intermediaries that
      may have facilitated the bribe payments, or any details concerning the actual bribe payments
      to foreign officials.”) (emphasis in original); id. at 51 (“Beyond that, there simply is no
      additional information to give the Defendants. Based on the detail in the Indictment and the
      detail included within the discovery, the Defendants have the information the Government has
      concerning the bribe payments, participants, and details. Because the Government at this point
      does not possess evidence sufficient to identify the specific foreign official or the third-party
      consultant involved in the bribe payment, and because such evidence is not necessary to prove
      an FCPA bribery offense, the Defendants do not require these particulars to prepare for trial
      . . . .”).

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 been less reason for them to believe that the bribe demand had actually occurred, was really

 holding up the planning permit, or was made by someone who in fact had the ability to move the

 permit approval along, and therefore less reason for them to authorize payment of a $2 million

 bribe. Second, it is a common sense proposition that individuals who engage in a crime usually

 know at least some important details of the crime. Because, as the Government has admitted, the

 Defendants and their co-conspirators did not know basic details of the alleged bribe payment, it is

 less likely that they authorized it. In fact, while these details may not be required for the

 Government to prove the elements of the charged crimes, it is equally true that the Defendants’

 lack of knowledge of these key facts, standing alone, could support a reasonable juror’s conclusion

 that the Government has not proved its case beyond a reasonable doubt. See Third Circuit Model

 Criminal Jury Instruction 3.06, (reasonable doubt “may arise from the evidence, or from the lack

 of evidence, or from the nature of the evidence”) (emphasis added). Thus, the Government’s

 admission as to the Defendants’ lack of knowledge of the details of the alleged bribe payment is

 clearly relevant.

                It is also relevant that the Government, despite years of investigation, has itself been

 unable to uncover these same details. Put another way, the Government’s inability, by its own

 admission, to uncover the basic details of the payment of the bribe lends at least some support to

 the argument that no bribe was ever paid,22 and this, in turn, suggests that the Defendants never

 agreed to pay a bribe. Defendants are entitled to make these points as well, and the Government’s

 admission as to its lack of knowledge of the basic details of the alleged bribe payment is relevant

 to that argument.




 22   The strength of the defense’s argument that no bribe was ever paid is further bolstered by
      L&T’s repeated denials of the same. See supra Section III.


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         C.      The Government’s Statement Is Admissible as a Party-Opponent Admission

                 A statement “offered against an opposing party” and either “made by the party,”

 “adopted” by the party, or “made by the party’s agent,”23 is admissible as non-hearsay pursuant to

 Rule 801. Fed. R. Evid. 801(d)(2)(A)-(D). Government admissions in criminal proceedings

 qualify under Rule 801(d)(2) as statements of a party opponent. E.g., United States v. Bailey, 1998

 WL 388802, at *1–2 (D.C. Cir. May 7, 1998); United States v. Kattar, 840 F.2d 118, 131 (1st Cir.

 1988); United States v. Morgan, 581 F.2d 933, 937–38 (D.C. Cir. 1978).

                 Some Circuits have held that government admissions are generally admissible as

 statements of party opponents.         Others allow their admission only in certain defined

 circumstances.24 The Third Circuit has not yet addressed this issue, but caselaw suggests that

 courts in this Circuit will generally admit such statements without the need to show particular

 circumstances. See United States v. Mitchell, 365 F.3d 215, 256 (3d Cir. 2004) (“We assume, but

 do not decide, that the solicitation would have been admissible at trial for its contents as a non-

 hearsay admission of a party opponent (the government).”); United States v. Kubini, 2017 WL



 23   A prosecutor is considered an agent of the government, and prosecutors’ statements thus
      constitute government admissions. United States v. Ganadonegro, 854 F. Supp. 2d 1088, 1118
      (D.N.M. 2012) (“[C]ourts have almost uniformly concluded that government attorneys,
      including Department of Justice attorneys, are agents under” Rule 801(d)(2)(D).); see
      also United States v. Bakshinian, 65 F. Supp. 2d 1104, 1105–06 (C.D. Cal. 1999).
 24   There is a circuit split regarding whether government admissions are generally admissible into
      evidence at trial as party-opponent statements or whether they are admissible only under
      specific circumstances. The First Circuit and D.C. Circuit allow prosecutors’ statements to be
      admitted broadly. See Kattar, 840 F.2d at 131; Bailey, 1998 WL 388802, at *2. The Second
      Circuit applies a three-part test for admitting prior statements of prosecutors under Rule
      801(d)(2), which centers on whether the prior statement “involves an assertion of fact
      inconsistent with similar assertions in a subsequent trial.” United States v. Salerno, 937 F.2d
      797, 810–11 (2d Cir.), opinion modified on reh’g, 952 F.2d 623 (2d Cir. 1991), and amended,
      952 F.2d 624 (2d Cir. 1991), and rev’d on other grounds, 505 U.S. 317 (1992) (citing and
      quoting United States v. McKeon, 738 F.2d 26 (2d Cir. 1984)). The Fourth Circuit has not
      adopted the Second Circuit’s three-part test, but has adopted the Second Circuit’s reasoning as
      laid out in McKeon. See United States v. Blood, 806 F.2d 1218, 1221 (4th Cir. 1986).

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 2573872, at *23 n.23 (W.D. Pa. June 14, 2017) (“Although the Rules of Evidence do not directly

 apply to sentencing proceedings, the Court believes that the 5K1.1 motion contains admissions by

 a party opponent.”).

                 Here, the Government has stated in a court filing that neither the Defendants, their

 co-conspirators, nor the Government itself knew or knows “the identity of the government

 official[s] who sought the bribe, the individuals who served as the intermediary and paid it, or the

 details of the bribe payments.” This statement is a clear party-opponent statement, admissible

 against the Government at trial under Rule 801(d)(2).25

                 For the foregoing reasons, Defendant Steven Schwartz respectfully requests that

 the Court allow into evidence the Government’s statement that: “[N]either the Defendants, nor

 CC#1 and CC#2, knew the identity of the government official[s] who sought the bribe, the

 individuals who served as the intermediary and paid it, or the details of the bribe payments.

 Likewise, to date, the Government’s investigation has not uncovered this information.”




 25   Admitting the Government’s statement presents no danger of unfair prejudice to the
      Government. The Government proactively made these admissions in a brief filed with this
      Court in a successful attempt to defeat the defendants’ motions for a bill of particulars. See
      United States v. Stevens, 455 F. App’x 343, 346 (4th Cir. 2011) (finding admission of a party’s
      own stipulation of facts did not unfairly prejudice that party). Admission of the Government’s
      statement into evidence is also highly unlikely to confuse or mislead the jury. Instead, and to
      the contrary, without a specific acknowledgment that neither the defendants, their co-
      conspirators, nor the Government know basic facts about the alleged bribery scheme, the jury
      might be confused as to what details the defendants did or did not know about the alleged bribe.
      Since the probative value of the statement at issue is high and the risk of unfair prejudice is
      either nonexistent or low, the statement should not be excluded under Rule 403.

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 V.     MR. SCHWARTZ JOINDER TO MOTIONS IN LIMINE MADE BY CO-
        DEFENDANT MR. COBURN

        A.        Mr. Coburn’s Motion in Limine No. 1

                  Mr. Schwartz respectfully joins in Mr. Coburn’s August 3, 2023 motion in limine

 to exclude certain statements of the defendants and certain portions of Cognizant’s internal policies

 concerning the definition of particular legal terms.

        B.        Mr. Coburn’s Motion in Limine No. 2

                  Mr. Schwartz respectfully joins in Mr. Coburn’s August 3, 2023 motion in limine

 to exclude references to, or evidence about, Cognizant’s outsourcing jobs or using less expensive

 foreign labor.

        C.        Mr. Coburn’s Motion in Limine No. 3

                  Mr. Schwartz respectfully joins in Mr. Coburn’s August 3, 2023 motion in limine

 to exclude references to, or evidence about, Mr. Coburn’s decisions or views relating to

 Cognizant’s compliance budget.

        D.        Mr. Coburn’s Motion in Limine No. 4

                  Mr. Schwartz respectfully joins in Mr. Coburn’s August 3, 2023 motion in limine

 to exclude references to, or evidence about, Mr. Coburn’s compensation while employed at

 Cognizant and his overall net worth, including as applied to Mr. Schwartz’s compensation while

 employed at Cognizant and his overall net worth.           As with Mr. Coburn, Mr. Schwartz’s

 compensation structure was complex in both design and practice. See, e.g., Exs. 48–49, CTS-

 0101575 (Cognizant Compensation Committee 2014 Bonus Payment Plan), CTS-0101576

 (Cognizant Compensation Committee 2015 Executive compensation Plan). For the same reasons

 set forth in Mr. Coburn’s motion, such information is irrelevant to the charges and would serve no

 purpose other than to prejudice Mr. Schwartz by appealing to class bias, and to put the details of



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 Mr. Schwartz’s actual compensation, and how that compensation was reached, before the jury with

 the appropriate context would require a mini-trial on the issue.

        E.      Mr. Coburn’s Motion in Limine No. 5

                Mr. Schwartz respectfully joins in Mr. Coburn’s August 3, 2023 motion in limine

 to exclude references to, or evidence about, Mr. Coburn’s refusal to sit for a second interview as

 part of Cognizant’s internal investigation and the circumstances of his subsequent resignation,

 including as applied to Mr. Schwartz’s termination of his second interview and refusal to sit for a

 third interview, and the circumstances of his subsequent resignation. As Mr. Coburn explains with

 respect to his own follow-up interview request from Cognizant and subsequent resignation,

 Cognizant prohibited Mr. Schwartz’s lawyer from speaking or taking notes during his interviews.

 Ex. 47, CTS-0103589; ECF No. 495 at 3, 5. Mr. Schwartz was required to cooperate fully with

 Cognizant’s interview demands or face termination. ECF No. 495 at 3–4, 6, 11. Mr. Schwartz

 terminated his second interview, refused to sit for an additional interview, and instead resigned

 from Cognizant, id. at 6, all on the advice of counsel. For the same reasons set forth in Mr.

 Coburn’s motion, under these circumstances, Mr. Schwartz’s decision to terminate his second

 interview and resign rather than sit for a third interview is not relevant to any issue properly before

 the jury, but rather only demonstrates his choice to follow his counsel’s advice and remain silent

 in the face of Cognizant’s unreasonable restrictions. If there is any minimal probative value, it is

 substantially outweighed by the danger of unfair prejudice, confusing the issues, misleading the

 jury, and wasting time.




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        F.     Mr. Coburn’s Motion in Limine No. 9

               Mr. Schwartz respectfully joins in Mr. Coburn’s August 3, 2023 motion in limine

 to admit exculpatory statements reflected in FBI-302 reports of L&T witnesses whom the

 Government has had the opportunity to question but are unavailable to testify.




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                                         CONCLUSION

                For the foregoing reasons, the Court should grant Mr. Schwartz’s omnibus motions

 in limine and enter an order: (1) excluding evidence regarding Mr. Schwartz’s attendance at a Mets

 game on April 22, 2014; video of Mr. Schwartz at the April 22, 2014 Mets game; and information

 regarding Mr. Schwartz’s eye surgery on April 24, 2014; (2) excluding evidence of answers given

 by Mr. Schwartz to questions posed by counsel for Cognizant during interviews held on August

 28, 2016 and September 23, 2016 to the extent the questions posed (or answers given) referred to

 hypothetical scenarios or called for legal conclusions; (3) allowing to be admitted into evidence

 statements made by L&T concerning its investigation into the alleged bribery scheme charged in

 this case, including formal public statements made to the Indian stock exchange to the effect that

 its investigation did not find evidence of a bribe payment; and (4) allowing to be admitted into

 evidence the Government’s admission that neither the defendants, their co-conspirators, nor the

 Government itself knows key details of the alleged bribery conspiracy in this case.

                The Court should also grant Mr. Coburn’s omnibus motions in limine, in which Mr.

 Schwartz hereby joins insofar as they seek an order: (a) excluding certain statements of the

 defendants and certain portions of Cognizant’s internal policies concerning the definition of

 particular legal terms (Coburn MIL #1); (b) excluding references to, or evidence about,

 Cognizant’s outsourcing jobs or using less expensive foreign labor (Coburn MIL #2); (c) excluding

 references to, or evidence about, Mr. Coburn’s decisions or views relating to Cognizant’s

 compliance budget (Coburn MIL #3); (d) excluding references to, or evidence about, Mr. Coburn’s

 compensation while employed at Cognizant and his overall net worth (Coburn MIL #4), including

 with respect to Mr. Schwartz’s compensation while employed at Cognizant and his net worth; (e)

 excluding references to, or evidence about, Mr. Coburn’s refusal to sit for a second interview as




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 part of Cognizant’s internal investigation and the circumstances of his subsequent resignation

 (Coburn MIL #5), including with respect to Mr. Schwartz’s termination of his second interview

 and refusal to sit for a third interview, and the circumstances of his subsequent resignation; and (f)

 admitting exculpatory statements reflected in FBI-302 reports of L&T witnesses whom the

 Government has had the opportunity to question but are unavailable to testify (Coburn MIL #9).


 Dated: August 3, 2023                               Respectfully submitted,

                                                     /s/ Justin D. Lerer
                                                     Theodore V. Wells, Jr.
                                                     Roberto Finzi
                                                     Justin D. Lerer
                                                     Kyle T. Sieber
                                                     PAUL, WEISS, RIFKIND, WHARTON &
                                                     GARRISON LLP
                                                     1285 Avenue of the Americas
                                                     New York, New York 10019-6064
                                                     (212) 373-3000
                                                     jlerer@paulweiss.com

                                                     GIBBONS P.C.
                                                     Lawrence S. Lustberg
                                                     John D. Haggerty
                                                     Anne M. Collart
                                                     One Gateway Center
                                                     Newark, New Jersey 07102
                                                     (973) 596-4500

                                                     BOHRER PLLC
                                                     Jeremy I. Bohrer
                                                     Jonathan E. Jason
                                                     10 Grand Central, Suite 2101
                                                     New York, New York 10017
                                                     (212) 303-3314

                                                     Attorneys for Defendant
                                                     Steven Schwartz




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